                      UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF WISCONSIN


RUTHELLE FRANK, et al., on behalf of
themselves and all others similarly situated,
                  Plaintiffs,

       v.                                               Case No. 11-CV-01128

SCOTT WALKER, in his official capacity as
Governor of the State of Wisconsin, et al.,
                  Defendants.


LEAGUE OF UNITED LATIN AMERICAN
CITIZENS (LULAC) OF WISCONSIN, et al.,
                 Plaintiffs,

       v.                                               Case No. 12-CV-00185

JUDGE DAVID G. DEININGER, et al.,
                Defendants.


                                DECISION AND ORDER

       In May 2011, the Wisconsin Legislature passed 2011 Wisconsin Act 23 (“Act 23”),

which requires Wisconsin residents to present a document including photo identification

(“photo ID”) in order to vote. 2011 Wis. Sess. Laws 104 (codified as amended in scattered

sections of Wis. Stat. Ch. 5 and 6).1 The plaintiffs in the two cases captioned above claim

the law violates the Fourteenth Amendment and/or Section 2 of the Voting Rights Act, 42

U.S.C. § 1973.


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        Act 23's photo ID requirement was in effect only in the February 2012 election. In
March 2012, two separate Wisconsin circuit courts enjoined the statute on state
constitutional grounds. As of the date of this decision, one of the injunctions remains in
effect and both cases are pending in the Wisconsin Supreme Court.




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        In the Frank case, individuals who are eligible to vote in Wisconsin contend that Act

23 violates both the Fourteenth Amendment and Section 2 of the Voting Rights Act. In the

LULAC case, four organizations argue that Act 23 violates Section 2 of the Voting Rights

Act. With the agreement of the parties, I handled the cases together without formally

consolidating them and, in November 2013, conducted a two week trial to the court. In this

decision, which constitutes my findings and conclusions under Federal Rule of Civil

Procedure 52, I address the major issues presented. In an effort to make the opinion as

readable as possible, I have placed several relatively technical discussions of expert

testimony in appendices rather than in the text.

       Before proceeding, I note that I am only addressing two of the plaintiffs’ claims—the

Frank plaintiffs’ claim that Act 23 places an unjustified burden on the right to vote and the

claim of both the Frank and LULAC plaintiffs that Act 23 violates Section 2 of the Voting

Rights Act. I do not address the Frank plaintiffs’ remaining claims, which are all

constitutional claims. My reason for not addressing the remaining claims is based on the

“longstanding principle of judicial restraint” under which courts are to “avoid reaching

constitutional questions in advance of the necessity of deciding them.” Camreta v. Greene,

__ U.S. __, 131 S.Ct. 2020, 2031 (2011) (internal quotation marks omitted). As explained

below, all of the plaintiffs are entitled to permanent injunctive relief against enforcement of

the photo ID requirement on the ground that the requirement violates Section 2 of the

Voting Rights Act. This makes consideration of any of the Frank plaintiffs’ constitutional

claims unnecessary. Still, I believe it is wise to consider the constitutional claim of whether

Act 23 places an unjustified burden on the right to vote. As my analysis below will

demonstrate, the Section 2 statutory claim and the unjustified-burden constitutional claim

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overlap substantially, in that many factual findings are relevant to both claims. Indeed, the

Section 2 analysis is largely identical to the unjustified-burden analysis, except that the

Section 2 analysis involves the additional question of whether Act 23 has a disproportionate

impact on Blacks and Latinos and produces a “discriminatory result.”2 Thus, it would likely

not be a wise use of judicial resources to address the Section 2 claim but leave the

unjustified-burden claim unresolved. Addressing only the former claim could result in an

appeal and then a remand to this court for consideration of the constitutional claim, and

then a second appeal involving only the constitutional claim. Of course, by not addressing

all constitutional claims, I am leaving the door open to successive appeals. But unlike the

unjustified-burden constitutional claim, the remaining constitutional claims do not overlap

substantially with the Section 2 claim and could more easily be addressed in separate

proceedings.

       My analysis proceeds as follows. First, I give an overview of the relevant provisions

of Act 23. Second, I address the Frank plaintiffs’ claim that Act 23 violates the Fourteenth

Amendment because it imposes substantial burdens on the many eligible voters who do not

currently possess photo IDs, and because such burdens are not justified by the state

interests that Act 23 purports to serve. Third, I address the plaintiffs’ claim that Act 23

violates Section 2 of the Voting Rights Act because it has a disproportionate impact on the

voting rights of Blacks and Latinos. Finally, I briefly address some remaining procedural




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         Because the Section 2 and unjustified-burden analyses are highly similar, with the
Section 2 analysis presenting additional questions that the unjustified-burden analysis does
not, I discuss the unjustified-burden claim first.

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matters, namely, the Frank plaintiffs’ motion for class certification and the defendants’

motion to dismiss the claims of certain Frank plaintiffs.

                                   I. Overview of Act 23

       Under Act 23, in order to vote, a person must present one of nine forms of photo ID

to prove his or her identity.3 An acceptable photo ID includes one of the following that is

unexpired or that expired after the most recent general election:4 (1) a Wisconsin driver’s

license, (2) a Wisconsin state ID card, (3) an ID card issued by a United States uniformed

service, or (4) a United States passport. Wis. Stat. § 5.02(6m)(a). A person may also

present: (5) a naturalization certificate issued within the last two years, (6) an unexpired

receipt issued when a person applies for a Wisconsin driver’s license, which is valid for 60

days as a temporary license, (7) an unexpired receipt issued when a person applies for a

state ID card, which is valid for 60 days as a temporary ID card, (8) an unexpired ID card

issued by a federally recognized Indian tribe in Wisconsin or (9) an unexpired ID card

issued by an accredited Wisconsin university or college that contains the date of issuance,

the person’s signature and an expiration date no later than two years from the date of

issuance. Wis. Stat. § 5.02(6m)(b)–(f). If a person presents a student ID, the person must

also produce a document showing that he or she is currently enrolled. Wis. Stat.

§ 5.02(6m)(f).



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         To qualify to vote in Wisconsin, a person must be a citizen of the United States,
18 or older and a resident of the state for 28 consecutive days prior to the election. Wis.
Stat. § 6.02(1).
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        A general election is one held “in even-numbered years . . . in November . . . .”
Wis. Stat. § 5.02(5).


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       Act 23 does not allow an individual to use a Veteran’s ID Card, the photo ID that the

United States Department of Veterans’ Affairs issues when veterans leave the military. Trial

Transcript (“Tr.”) 871. An individual also cannot use an ID from one of Wisconsin’s 16 two-

year technical colleges. The Wisconsin Government Accountability Board (“GAB”), a non-

partisan board consisting of six retired judges which administers Wisconsin elections, found

that technical college IDs which met the requirements set out for student IDs were

acceptable, but a legislative committee required the GAB to promulgate an administrative

rule on the matter. The GAB did so, but both the legislative committee and the Governor

must approve the rule and neither has done so. Tr. 879–80, 883.

       When voting in-person, an individual must state his or her name and address and

produce one of the accepted forms of photo ID. The clerk or poll worker will then check the

poll list to determine if there is a registered voter with matching information and inspect the

ID to see if the name on it conforms to the name on the poll list and the photograph

reasonably resembles the individual. Wis. Stat. § 6.79(2)(a). If these requirements are met,

the individual will be allowed to sign the poll book and receive a ballot. If an individual does

not have a qualifying ID, he or she may cast a provisional ballot. However, such ballot will

be counted only if the individual appears at the municipal clerk’s office with an acceptable

ID by 4:00 p.m. on the Friday after the election. Wis. Stat. §§ 6.79(3)(b), 6.97(3)(b).

Individuals requesting absentee ballots must also present photo IDs. Wis. Stat.

§§ 6.86(1)(ar), 6.87(1). A requester must mail in a photocopy of an acceptable photo ID with

his or her request. Wis. Stat. § 6.87(1).

       The statute provides limited exceptions. The photo ID requirement does not apply

to: (1) absentee voters who have previously supplied acceptable photo IDs and whose

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names and addresses have not changed, Wis. Stat. § 6.87(4)(b)3, (2) absentee voters who

are in the military or overseas, Wis. Stat. § 6.87(1), (3) voters who have confidential listings

as a result of domestic abuse, sexual assault or stalking, Wis. Stat. § 6.79(6), (4) voters

who have surrendered their driver’s licenses due to a citation or notice of intent to revoke

or suspend the license who present a copy of the citation or notice, Wis. Stat. § 6.79(7), and

(5) absentee voters who are elderly, infirm or disabled and indefinitely confined to their

homes or certain care facilities, Wis. Stat. §§ 6.86(2), 6.875. Additionally, an individual with

a religious objection to being photographed can apply for a Wisconsin state ID card that

does not include a photo. Wis. Stat. § 343.50(4g).

       Individuals who lack a qualifying photo ID can apply for a Wisconsin state ID card at

the Wisconsin Department of Motor Vehicles (“DMV”). The cost for such a card is normally

$18.00, but Act 23 requires the DMV to waive the fee if the applicant is a citizen who will be

at least 18 on the date of the next election, and the applicant asks that the card be issued

without charge for voting purposes. Wis. Stat. § 343.50(5)(a)3. To obtain a state ID card,

a person must obtain certain primary identification documents and appear at a DMV service

center to submit an application and be photographed.

     II. Fourteenth Amendment Claim: Unjustified Burden on the Right to Vote

       The Frank plaintiffs are eligible Wisconsin voters who claim that Act 23's photo ID

requirement violates the Fourteenth Amendment because it imposes an unjustified burden

on their right to vote. The Constitution does not expressly provide a right to vote, but it does

so implicitly. Harper v. Va. State Bd. Of Elections, 383 U.S. 663, 665–66 (1966); Reynolds

v. Sims, 377 U.S. 533, 554–55 (1964); Yick Wo v. Hopkins, 118 U.S. 356, 370 (1886)

(noting that the right to vote is “a fundamental political right, because preservative of all

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rights”). Further, the right to vote is a fundamental right protected by both the due process

and equal protection clauses of the Fourteenth Amendment. Burdick v. Takushi, 504 U.S.

428, 433 (1992) (“It is beyond cavil that ‘voting is of the most fundamental significance

under our constitutional structure.’” (quoting Ill. Bd. of Elections v. Socialist Workers Party,

440 U.S. 173, 184 (1979)); Anderson v. Celebrezze, 460 U.S. 780, 787 (1983) (the right to

vote is one of the liberty interests protected by the due process clause); Harper, 383 U.S.

at 665 (“[O]nce the franchise is granted to the electorate, lines may not be drawn which are

inconsistent with the Equal Protection Clause of the Fourteenth Amendment.”). Thus, states

may not enact laws that unduly burden the right to vote. No litmus test, however, neatly

separates valid and invalid election laws. Crawford v. Marion Cnty. Election Bd., 553 U.S.

181, 189–90 (2008). Rather, the Supreme Court has adopted a balancing test that courts

must apply on a case-by-case basis. Id.

       The test adopted by the Court recognizes that, “as a practical matter, there must be

substantial regulation of elections if they are to be fair and honest and if some sort of order,

rather than chaos, is to accompany the democratic process.” Storer v. Brown, 415 U.S. 724,

730 (1974). It further recognizes that an election regulation, “whether it governs the

registration and qualification of voters . . . or the voting process itself, inevitably affects—at

least to some degree—the individual’s right to vote and his right to associate with others for

political ends.” Anderson, 460 U.S. at 788. Thus, courts applying the balancing test must

weigh “‘the character and magnitude of the asserted injury’” to the right to vote against “‘the

precise interests put forward by the State as justifications for the burden imposed by its

rule,’ taking into consideration ‘the extent to which those interests make it necessary to

burden the plaintiff’s rights.’” Burdick, 504 U.S. at 434 (quoting Anderson, 460 U.S. at 789).

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The rigor of the inquiry into the state’s interests depends on the extent to which the

challenged election law burdens the right to vote. Id. Even very slight burdens “must be

justified by relevant and legitimate state interests ‘sufficiently weighty to justify the

limitation.’” Crawford, 553 U.S. at 191 (quoting Norman v. Reed, 502 U.S. 279, 288–89

(1992)).

       In Crawford, the Supreme Court considered a claim similar to that of the Frank

plaintiffs. The Crawford plaintiffs challenged an Indiana statute requiring citizens voting in

person on election day, or casting a ballot in person at the office of the circuit court clerk

prior to election day, to present a photo ID. 553 U.S. at 185. A majority of the Court

determined that the plaintiffs had failed to prove that the statute was invalid. Although no

opinion expressed the rationale of a majority of the Court, six Justices agreed that the

Anderson/Burdick balancing test applied to the plaintiffs’ claim. See Crawford, 553 U.S. at

189–91 (opinion of Stevens, J.); id. at 204–08 (opinion of Scalia, J.). The opinions differed,

however, with respect to how the balancing test was to be applied. Justice Scalia’s view of

the test was that a law could be evaluated only on the basis of its “reasonably foreseeable

effect on voters generally,” rather than on its effect on subgroups of voters. Id. at 206

(emphasis in original). In contrast, Justice Stevens seemed to assume that a law could be

invalid based on its effect on a subgroup of voters. Id. at 200–03. Here, however, he

concluded that the plaintiffs had failed to produce a record that enabled the Court to

determine whether the law placed an excessive and/or unjustified burden on the rights of

a subgroup of voters. Id. at 200 (“[O]n the basis of the evidence in the record it is not

possible to quantify either the magnitude of the burden on this narrow class of voters or the

portion of the burden imposed on them that is fully justified.”). Justice Stevens determined

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that this gap in the record left the Court with no choice but to weigh the state’s justifications

for the law against its “broad application to all Indiana voters.” Id. at 202–03. He and the

Justices who joined his opinion concluded that because 99% of Indiana’s voting-age

population already possessed photo IDs that would allow them to comply with the new law,

id. at 188 n.6, the state’s general interests in the law were sufficient to justify the burdens

it imposed on Indiana voters generally. Id. at 202–03.

       Because in Crawford a majority of the Court agreed that a photo ID requirement such

as provided in Act 23 is to be evaluated under the Anderson/Burdick balancing test, I will

apply that test here. However, because a majority of the Court could not agree on how to

apply the test, Crawford is not binding precedent on that matter. “When a fragmented Court

decides a case and no single rationale explaining the result enjoys the assent of five

Justices, the holding of the Court may be viewed as that position taken by those Members

who concurred in the judgment on the narrowest grounds.” Marks v. United States, 430 U.S.

188, 193 (1977) (internal quotation marks and alteration omitted). Here, the opinion

authored by Justice Stevens is the narrowest. Like Justice Scalia, Justice Stevens

concluded that the Indiana law was valid because the state interests justified the law’s

burden on “all Indiana voters.” Crawford, 553 U.S. at 202–03. But Justice Stevens did not

expressly answer the further constitutional question answered by Justice Scalia: whether

a law could be invalidated based on the burdens imposed on a subgroup of voters. Justice

Scalia answered “no” to this question, id. at 204–08, while Justice Stevens determined only

that the plaintiffs had not shown that the Indiana law imposed excessive burdens on a

subgroup of voters, id. at 200–03. Because Justice Stevens’s opinion is narrowest, and

because Justice Stevens did not determine whether a law could be invalidated based on

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the burdens it imposes on a subgroup of voters, Crawford is not precedential as to that

question.

       To find the rule of decision, then, I revert back to Anderson and Burdick, which are

cases that produced majority opinions. And as I read these cases, they require invalidation

of a law when the state interests are insufficient to justify the burdens the law imposes on

subgroups of voters. Both cases emphasized that “[a] court considering a challenge to a

state election law must weigh ‘the character and magnitude of the asserted injury to the

rights protected by the First and Fourteenth Amendments that the plaintiff seeks to

vindicate’ against ‘the precise interests put forward by the State as justifications for the

burden imposed by its rule,’ taking into consideration ‘the extent to which those interests

make it necessary to burden the plaintiff's rights.’” Burdick, 504 U.S. at 434 (quoting

Anderson, 460 U.S. at 789) (emphasis added). The focus of this language is the rights of

an individual plaintiff rather than the rights of “voters generally.” Crawford, 553 U.S. at 206

(opinion of Scalia, J.). This implies that an unjustified burden on some voters will be enough

to invalidate a law, even if, because the law burdens other voters only trivially, the state’s

interests are sufficient to justify the burden placed on such other voters. Moreover, in

Anderson, the Court explicitly framed the question presented as whether the Ohio law at

issue placed an unconstitutional burden on the voting rights of a subgroup of the state’s

voters—namely, the subgroup composed of Anderson’s supporters. 460 U.S. at 782 (“The

question presented by this case is whether Ohio's early filing deadline placed an

unconstitutional burden on the voting and associational rights of Anderson's supporters.”).

For these reasons, I conclude that a law like Act 23 is invalid if it imposes burdens on a

subgroup of a state’s voting population that are not outweighed by the state’s justifications

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for the law.

       Given the above legal standards, I will proceed as follows. First, I will identify the

state interests the defendants put forward to justify Act 23 and assess the extent to which

Act 23 is necessary to serve those interests. Second, I will identify and assess the

magnitude of the burdens Act 23 imposes on the right to vote. Finally, I will determine

whether the state’s interests are sufficiently weighty to justify those burdens.

       A.      The State’s Justifications for Act 23

       The defendants claim that Act 23's identification scheme serves four state interests:

(1) detecting and preventing in-person voter-impersonation fraud; (2) promoting public

confidence in the integrity of the electoral process; (3) detecting and deterring “other types

of voter fraud;” and 4) promoting orderly election administration and accurate

recordkeeping. Defs.’ Post-Trial Br. at 8.

               1.     Detecting and preventing in-person voter-impersonation fraud

       The defendants claim that Act 23 will deter or prevent voter fraud by making it harder

to impersonate a voter and cast a ballot in his or her name without detection. Detecting and

preventing in-person voter-impersonation fraud is a legitimate state interest, see Crawford,

553 U.S. at 196, and the photo ID requirement does, to some extent, serve that interest by

making it harder to impersonate a voter at the polls. However, as explained below, because

virtually no voter impersonation occurs in Wisconsin and it is exceedingly unlikely that voter

impersonation will become a problem in Wisconsin in the foreseeable future, this particular

state interest has very little weight.

       The evidence at trial established that virtually no voter impersonation occurs in



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Wisconsin. The defendants could not point to a single instance of known voter

impersonation occurring in Wisconsin at any time in the recent past. The only evidence

even relating to voter impersonation that the defendants introduced was the testimony of

Bruce Landgraf, an Assistant District Attorney in Milwaukee County. Landgraf testified that

in “major elections,” by which he means gubernatorial and presidential elections, his office

is asked to investigate about 10 or 12 cases in which a voter arrives at the polls and is told

by the poll worker that he or she has already cast a ballot. Tr. 2056–57. However, his office

determined that the vast majority of these cases—approximately 10 each election—have

innocent explanations, such as a poll worker’s placing an indication that a person has voted

next to the wrong name in the poll book. Tr. 2057. Still, about one or two cases each major

election remain unexplained, and the defendants contend that these one or two cases could

be instances of voter-impersonation fraud. I suppose that’s possible, but most likely these

cases also have innocent explanations and the District Attorney’s office was simply unable

to confirm that they did.5 Moreover, the most Landgraf’s testimony shows is that cases of

potential voter-impersonation fraud occur so infrequently that no rational person familiar with

the relevant facts could be concerned about them. There are over 660,000 eligible voters

in Milwaukee County,6 and if the District Attorney’s office finds two unexplained cases each


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        Landgraf did not explain the methods his office used to determine that there were
innocent explanations for the vast majority of cases, but the defendants introduced into
evidence memos discussing the steps the District Attorney’s office took to investigate two
potential “stolen vote” cases. Defs.’ Ex. 1033, 1034. In both cases, the investigator
interviewed the voter and the poll workers who recorded the allegedly fraudulent vote and
reviewed the entry for the vote in the poll book. Id. This was the extent of the District
Attorney’s investigation.
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            Frank Ex. 600 at 34 (Table 2).


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major election, that means that there is less than one questionable vote cast each major

election per 330,000 eligible voters. The rate of potential voter-impersonation fraud is thus

exceedingly tiny.

       The evidence introduced by the plaintiffs confirms that voter-impersonation fraud

does not occur in Wisconsin. The plaintiffs offered the testimony of Lorraine Minnite, a

professor at Rutgers University who specializes in the study of the incidence of voter fraud

in contemporary American elections. Professor Minnite studied elections in Wisconsin

during the years 2004, 2008, 2010 and 2012 to determine whether she could identify any

incidents of voter fraud. She consulted a variety of sources of information, including

newspaper databases, news releases by the Wisconsin Attorney General, criminal

complaints, decisions by state courts, and documents issued by the GAB. From these

sources, Minnite was able to identify only one case of voter-impersonation fraud. Tr.

1036–42. And the single case of voter-impersonation fraud did not involve in-person voter

impersonation. Rather, that case involved a man who applied for and cast his recently

deceased wife’s absentee ballot.7 Tr. 1041. Thus, from Minnite’s work, it appears that there



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         Act 23's photo ID requirement applies to absentee ballots, and thus had it been in
effect at the time of this incident it may have prevented the man from voting his deceased
wife’s absentee ballot. However, the man could have easily circumvented Act 23 in this
instance if he possessed his deceased wife’s ID, since to vote absentee all a person needs
to do is mail a copy of a photo ID with the request for an absentee ballot. Tr. 1041–42; Wis.
Stat. § 6.87(1). Cf. Crawford v. Marion Cnty. Election Bd., 472 F.3d 949, 954 (7th Cir.
2007), aff’d, 553 U.S. 181 (2008) (noting that a photo ID requirement for absentee ballots
is pointless because “[t]he voter could make a photocopy of his driver's license or passport
or other government-issued identification and include it with his absentee ballot, but there
would be no way for the state election officials to determine whether the photo ID actually
belonged to the absentee voter, since he wouldn't be presenting his face at the polling
place for comparison with the photo”).


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have been zero incidents of in-person voter-impersonation fraud in Wisconsin during recent

elections.

       Some have suggested that voter fraud might be more widespread than the low

number of prosecutions indicates because the laws that prohibit voter fraud are

underenforced. See Crawford, 472 F.3d at 953. However, the defendants do not suggest

that there is any underenforcement of such laws in Wisconsin. And the evidence at trial

indicates that such laws are vigorously enforced. In 2004, a Joint Task Force was created

to investigate and prosecute voter fraud that occurred in Milwaukee during the 2004

presidential election. LULAC Ex. 68 ¶ 28. The task force included the United States

Attorney, the Milwaukee County District Attorney, the Milwaukee City Attorney and a

representative of the Milwaukee Police Department. In 2002, the United States Department

of Justice started the Ballot Access and Voting Integrity Initiative in response to allegations

of voter fraud across the country. LULAC Ex. 68 ¶¶ 20, 25. From 2002 to 2005, one of the

goals of this initiative was to identify and prosecute individuals who committed voter fraud.

Previously, the Department had only brought charges against conspiracies to corrupt the

political process and not against individuals acting alone. One of the cities the Department

focused on was Milwaukee. And, in September 2008, the Wisconsin Attorney General

announced that his office was partnering with the Milwaukee County District Attorney to

form an “Election Fraud Task Force” to detect, investigate and prosecute election fraud

crimes in Milwaukee County. LULAC Ex. 812 ¶ 4. Before the 2010 general election, the

Election Fraud Task Force expanded to include the district attorneys of 11 more counties.

Id. ¶ 5. The task force not only followed-up on complaints about voter fraud, but it also

dispatched teams of assistant attorneys general and special agents for the Division of

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Criminal Investigation to polling places across Wisconsin during the 2008, 2010 and 2012

elections, including the special June 2012 recall election. Accordingly, the lack of

prosecutions for voter-impersonation fraud in Wisconsin cannot be attributed to

underenforcement.

       The defendants contend that the absence of known instances of voter-impersonation

fraud could be explained by the fact that such fraud is difficult to detect. However, the

witnesses called by the defendants to testify about their efforts to investigate voter fraud did

not indicate that voter-impersonation fraud is difficult to detect. When Michael Sandvick, a

former Milwaukee police officer, was asked at trial whether or not voter fraud was difficult

to detect, he answered, “There are different types of voter fraud. Some of them are hard to

detect and some of them are not.” Tr. 2036. When asked what types are hard to detect, he

gave only one example: someone using a fake address to vote. He did not mention voter

impersonation.

       Moreover, if voter impersonation is occurring often enough to threaten the integrity

of the electoral process, then we should be able to find more evidence that it is occurring

than we do. If, for example, voter impersonation is a frequent occurrence, then we should

find more than two unexplained cases per major election in which a voter arrives at the polls

only to discover that someone has already cast a ballot in his or her name. Another way to

determine whether voter impersonation is occurring is a method suggested by the

defendants’ expert witness, M.V. Hood III, a professor of political science at the University

of Georgia. See M.V. Hood III & William Gillespie, They Just Do Not Vote Like They Used

To: A Methodology to Empirically Assess Election Fraud, 93 Social Science Quarterly 76

(March 2012). Professor Hood and his coauthor explain that one way to commit voter-

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impersonation fraud is to impersonate a registered voter who is recently deceased.

Obviously, the deceased voter cannot show up at the polls, and thus a person who wanted

to cast an illegal ballot could appear at the place where the deceased voter was registered

and give the deceased voter’s name. Hood’s method for detecting this type of fraud involves

comparing a database of deceased registered voters to a database of persons who had

cast ballots in a recent election. If the researcher is able to match entries in both databases,

then further investigation could be undertaken to determine whether voter impersonation

had occurred. Hood and his coauthor applied this methodology to the 2006 elections in

Georgia and found no evidence of ballots being illegally cast in the name of deceased

voters. Id. at 81–92.

       Thus, although voter-impersonation fraud may be difficult to detect, it is not invisible.

If it is occurring in Wisconsin to any significant extent, then at trial the defendants should

have been able to produce evidence that it is. The absence of such evidence confirms that

there is virtually no voter-impersonation fraud in Wisconsin.

       The defendants also contend that even if there currently is no voter impersonation

in Wisconsin, the state has an interest in taking steps to prevent voter-impersonation fraud

from becoming a problem in the future. In support of this contention, the defendants point

out that the Supreme Court has stated that legislatures “should be permitted to respond to

potential deficiencies in the electoral process with foresight rather than reactively, provided

that the response is reasonable and does not significantly impinge on constitutionally

protected rights.” Munro v. Socialist Workers Party, 479 U.S. 189, 195–96 (1986). However,

the Supreme Court has also stated that states cannot burden the right to vote in order to

address dangers that are remote and only “theoretically imaginable.” Williams v. Rhodes,

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393 U.S. 23, 33 (1968). In the present case, no evidence suggests that voter-impersonation

fraud will become a problem at any time in the foreseeable future. As the plaintiffs’

unrebutted evidence shows, a person would have to be insane to commit voter-

impersonation fraud. The potential costs of perpetrating the fraud, which include a $10,000

fine and three years of imprisonment, are extremely high in comparison to the potential

benefits, which would be nothing more than one additional vote for a preferred candidate

(or one fewer vote for an opposing candidate), a vote which is unlikely to change the

election’s outcome. Tr. 1017–19, 1342. Adding to the cost is the fact that, contrary to the

defendants’ rhetoric, voter-impersonation fraud is not “easy” to commit. To commit voter-

impersonation fraud, a person would need to know the name of another person who is

registered at a particular polling place, know the address of that person, know that the

person has not yet voted, and also know that no one at the polls will realize that the

impersonator is not the individual being impersonated. Tr. 1341. The defendants offered no

evidence at trial to support the notion that it is easy to obtain this knowledge. Thus, given

that a person would have to be insane to commit voter-impersonation fraud, Act 23 cannot

be deemed a reasonable response to a potential problem.8

               2.    Promoting public confidence in the integrity of the electoral
                     process

       The defendants claim that the photo ID requirement serves the state’s interest in



       8
          I also note that, if the state were concerned with preventing voter fraud from
becoming a problem in the future, it would be taking steps to combat forms of voter fraud
other than in-person voter impersonation. As Professor Barry Burden explained, “[i]f there
is fraud taking place on any scale, it’s going to be more likely to happen with absentee
ballots and with voter registration, but that’s not where [Act 23] targeted its efforts in an
effort to stop voter fraud.” Tr. 1342.

                                             17



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promoting confidence in the integrity of the electoral process. It is true that the state has an

interest in protecting the public’s confidence in the integrity of elections so that citizens are

encouraged to participate in the democratic process. Crawford, 553 U.S. at 197. However,

the defendants produced no empirical support for the notion that Act 23's photo ID

requirement actually furthers this interest. In contrast, one of the plaintiffs’ expert witnesses,

Barry Burden, a professor of political science at the University of Wisconsin–Madison,

testified that the available empirical evidence indicates that photo ID requirements have no

effect on confidence or trust in the electoral process. He described a study conducted by

Stephen Ansolabehere and Nathaniel Persily and published in the Harvard Law Review

which looked at the relationship between photo ID laws and voter confidence in the electoral

process. See Stephen Ansolabehere & Nathaniel Persily, Vote Fraud in the Eye of the

Beholder: The Role of Public Opinion in the Challenge to Voter Identification Requirements,

121 Harv. L. Rev. 1737, 1756 (2008). Burden explained that this study employed

multivariate analysis of survey data and found “zero relationship” between voter ID laws and

a person’s level of trust or confidence in the electoral process. Tr. 1385.

       Perhaps the reason why photo ID requirements have no effect on confidence or trust

in the electoral process is that such laws undermine the public’s confidence in the electoral

process as much as they promote it. As Professor Minnite testified, the publicity surrounding

photo ID legislation creates the false perception that voter-impersonation fraud is

widespread, thereby needlessly undermining the public’s confidence in the electoral

process:

       Q.      And based on your research, do you think the public thinks there’s
               more voter fraud than there actually is?


                                               18



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      A.     Yes.

      Q.     And why do you think that occurs?

      A.     Well, I think people don’t pay a lot of attention to these issues. I would
             imagine that concern about voter fraud is probably not on the very top
             of everyone’s list of concerns with respect to public policy or so forth,
             and so they don’t know a lot about it.

                     They don’t know a lot about how elections are run. They don’t
             know about all the details. They don’t pay a lot of attention when
             politicians are fighting over ID laws. They only know what they may
             pick up on a little bit from the news here and there. And when you
             have a lot of this discussion about voter fraud when voter fraud
             allegations are being made and they’re being picked up in the media
             and they’re being repeated over and over and over again, the public
             might generally have a sense that there might be a little bit of a
             problem.

                     And I’ve also written about how—and this is my view, how
             there’s kind of—we have a kind of cynicism about politics in the United
             States. And we have what I call the voter fraud myth, connecting to
             sort of the larger cultural myth about the corruption of politics and that
             people who engage in politics are somehow corrupt.

                     So it sort of connects to a broader sense to perhaps a new kind
             of cynicism when people are catching every now and then on the news
             or in the newspaper another story about somebody may have voted
             twice or . . . [an] “illegal” citizen may have cast an illegal ballot.

                     So in general, the sort of context over the last so many years
             that’s been created to the average person, I think they don’t know what
             to make of it.

                     So they defer to what we would call, in survey research, elite
             opinion. And when they hear people in important positions in
             government saying there’s a lot of fraud out there, when this particular
             law is meant address all this fraud, they’re going to intend to maybe
             take that on authority because they’ll say I don’t know. I don’t know
             how to run elections. I don’t hear too much about it, but I hear an
             important person or government official saying there’s a lot of fraud, I
             think that’s really influenced people to think that the problem is really
             bigger than it is.

Tr. 1019–20. Burden likewise testified that unsubstantiated allegations of voter fraud made

                                            19



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by public officials undermine confidence in the electoral system. Tr. 1388–89. And Kevin

Kennedy, the director of the GAB, in a letter to the Speaker of the Wisconsin State

Assembly, offered the same opinion: “Speaking frankly on behalf of our agency and local

election officials, absent direct evidence I believe continued unsubstantiated allegations of

voter fraud tend to unnecessarily undermine the confidence that voters have in election

officials and the results of the elections.” Tr. 1389.

       Another way that photo ID laws undermine confidence in the electoral process is by

causing members of the public to think that the photo ID requirement is itself

disenfranchising voters and making it harder for citizens to vote, thus making results of

elections less reflective of the will of the people. See Tr. 578–79, 582–83 (testimony that

Act 23 will exacerbate the lack of trust that the Black and Latino communities already have

in the system); Tr. 951 (Lorene Hutchins, a Wisconsin voter, testified that she believes Act

23 is designed to keep certain people from voting); Tr. 396 (testimony that many voters

believe Act 23 was designed to confuse voters).

       For these reasons, I conclude that Act 23 does not further the state’s interest in

promoting confidence in the electoral process.

              3.     Detecting and deterring other types of fraud

       The defendants contend that the photo ID requirement will help detect and deter

forms of voter fraud other than voter impersonation. However, the defendants do not

adequately explain how that could be so. The first type of unlawful voting the defendants

cite is “voting under invalid voter registrations.” Defs.’ Post-Trial Br. at 12–13. The examples

the defendants give of this kind of voter fraud are voting by a registered voter who has been

convicted of a felony and voting by a non-citizen who has managed to register to vote.

                                              20



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However, the defendants do not explain how the requirement to present an ID at the polls

will prevent these types of unlawful voting, and I cannot think of any way that it could. If a

person is registered and has a valid ID, that person will be allowed to vote. No evidence in

the record indicates that persons convicted of a felony or non-citizens will be unable to

present qualifying forms of ID. The defendants also claim that the photo ID requirement will

help prevent unlawful voting by registered Wisconsin voters who no longer maintain

residency in the state but who have not yet been removed from the poll list and unlawful

double voting by individuals who register to vote in more than one state. Again, however,

the defendants fail to explain how the requirement to present a photo ID will prevent these

forms of unlawful voting, and I cannot think of any way that it could. Thus, I find that Act 23

does not serve the state’s interest in preventing types of voting fraud other than in-person

voter-impersonation fraud.

              4.     Promoting orderly election administration and accurate
                     recordkeeping

       The final state interest cited by the defendants is the state’s interest in promoting

orderly election administration and accurate recordkeeping. Again, there is no question that

this is an important state interest. See Crawford, 553 U.S. at 196. However, the defendants

have not identified any way in which Act 23's photo ID requirement serves this interest that

is distinct from the state’s interest in detecting and preventing voter fraud. See id.

(mentioning the state’s interest in promoting orderly election administration and accurate

recordkeeping in the course of a discussion of the state’s interest in detecting and

preventing voter fraud). Thus, Act 23 serves the state’s interest in orderly election

administration and accurate recordkeeping only to the extent that it serves the state’s


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interest in detecting and preventing voter fraud. For the reasons already discussed, Act 23

only weakly serves the latter interest.

       B.       The Burdens Imposed by Act 23

       Act 23 applies to all Wisconsin residents. However, the burdens it imposes on the

right to vote fall primarily on individuals who do not currently possess a photo ID. For those

who already have a qualifying ID, such as a driver’s license, the barrier to voting that Act 23

creates is extremely low: such individuals must simply remember to bring their IDs to the

polls. But, as I will discuss, many eligible voters do not currently have a photo ID. And the

daily lives of many of these individuals are such that they have not had to obtain a photo

ID for purposes such as driving.9 For these eligible voters, the requirement that they obtain

a photo ID in order to vote erects a more substantial barrier. They must do whatever it takes

to gather the necessary documents and make a special trip to the DMV in order to procure

an ID that they will expect to use for no purpose other than to vote.

       Although it is true that those individuals who already have IDs must have at one time

experienced the burdens and inconveniences of obtaining them (and must continue to

experience the burdens and inconveniences of keeping their IDs valid), the photo ID

requirement creates a unique barrier for those who would not obtain a photo ID but for Act


        9
         Tr. 40–41 (Alice Weddle testified that she does not have a qualifying ID, does not
drive, has never flown on an airplane, has never left the United States and does not have
a bank account); Tr. 55 (Plaintiff Eddie Holloway testified that he does not have a qualifying
ID and has never traveled on an airplane); Tr. 207–08 (Plaintiff Shirley Brown testified that
she does not have an ID and has never left the country or flown on a plane); Tr. 703–04
(Rose Thompson testified that before Act 23, she had no need for a photo ID); Tr. 434
(Kenneth Lumpkin testified that inner-city businesses understand that many of their
customers do not have a photo ID and that they adapt as, for example, by cashing checks
without requiring an ID).


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23. The individuals who obtained their IDs before the photo ID requirement went into effect

(or who would today obtain an ID for reasons unrelated to voting) expect to derive benefits

from having those IDs that are unrelated to voting. For example, a person who obtains a

driver’s license receives a daily benefit—the ability to drive—from having experienced the

burden of gathering the necessary documents and visiting the DMV. Once the photo ID

requirement was adopted, that person received the benefit of being able to vote at no

additional cost. In contrast, a person whose daily life did not require possession of a photo

ID prior to the imposition of the photo ID requirement is unlikely to derive any benefit from

possessing a photo ID other than the ability to continue voting. Yet that person must pay

the same costs—in the form of the hassle of obtaining the underlying documents and

making a trip to the DMV—as the person who obtained the ID for driving. This difference

in expected benefits results in Act 23 imposing a unique burden on those who need to

obtain an ID exclusively for voting, with the result that these individuals are more likely to

be deterred from voting than those who already possess an ID for other reasons.

       Based primarily on the testimony of plaintiff’s expert, Leland Beatty, a statistical

marketing consultant with extensive experience in business and politics, I find that

approximately 300,000 registered voters in Wisconsin, roughly 9% of all registered voters,

lack a qualifying ID.10 To put this number in context, in 2010 the race for governor in

Wisconsin was decided by 124,638 votes, and the race for United States Senator was

decided by 105,041 votes. See LULAC Ex. 2 ¶ 10 & Table 2. Thus, the number of

registered voters who lack a qualifying ID is large enough to change the outcome of


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             In Appendix A, I discuss in detail how I arrived at this figure.


                                                23



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Wisconsin elections. In addition to these registered voters without an ID, there are a number

of persons who are eligible to vote but not yet registered who lack an ID. Because

Wisconsin permits same-day registration at the polls, any eligible voter may become a

registered voter on election day. One of the plaintiffs’ expert witnesses, Matthew Barreto,

a professor at the University of Washington and an expert on voting behavior, survey

methods and statistical analysis, conducted a telephonic survey of eligible voters in

Milwaukee County. Professor Barreto found that there were 63,085 eligible voters in

Milwaukee County alone who lack a qualifying ID.11

       A substantial number of the 300,000 plus eligible voters who lack a photo ID are low-

income individuals who either do not require a photo ID to navigate their daily lives or who

have encountered obstacles that have prevented or deterred them from obtaining a photo

ID. At trial, I heard from eight witnesses who intend to vote in Wisconsin elections but who

do not currently possess a qualifying photo ID. Seven of these witnesses are low income.

Alice Weddle testified that she is unemployed, receives Social Security and

Medicare/Medicaid benefits and has no bank accounts or credit cards. She attempted to

obtain an ID but was unable to do so because she does not have a birth certificate. Eddie

Holloway testified that he would be homeless if his sister did not agree to take him in, and

that he is on various forms of public assistance. He testified that he attempted to obtain an

ID but was unable to do so because of an error on his birth certificate that he cannot afford

to have corrected. Rickey Davis testified that he is unemployed, has no bank accounts and

attempted to obtain a photo ID but could not get one because he does not have a birth


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            In Appendix B, I discuss Professor Barreto’s conclusions in more detail.


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certificate. Shirley Brown testified that she lives on Social Security disability and attempted

to obtain an ID but was unable to do so because she does not have a birth certificate.

Melvin Robertson testified that he has no education beyond grade school and that he would

like to obtain an ID but cannot because he lacks a birth certificate. Rose Thompson testified

that after Act 23 was enacted, she attempted to obtain an ID but could not afford to pay the

fees associated with obtaining her birth certificate from Mississippi. Sim Newcomb testified

that he does not drive, relies on public transportation, has not recently traveled outside the

United States, does not travel on airplanes, and that to the extent he needs a photo ID for

banking, he is able to use his Veteran’s ID card, which is not an acceptable ID under Act

23. He testified that he attempted to obtain a Wisconsin ID card but could not satisfy the

DMV’s documentation requirements.12

       Professor Barreto’s research sheds additional light on the demographic makeup of

those who lack an ID and lends further support to the conclusion that a substantial number

of the 300,000 plus voters who lack an ID are low income. Barreto found that between

20,494 and 40,511 eligible voters in Milwaukee County who lack an ID earn less than

$20,000 per year. Frank Ex. 600 at 31. As already noted, Barreto found that the total

number of eligible voters in Milwaukee County who lack an ID is 63,085. Thus, individuals

who make less than $20,000 per year comprise between 32% and 64% of the population



        12
          Many other witnesses, including public officials and employees of service
organizations, testified that they have encountered many low-income voters who lack
qualifying IDs. These witnesses include Nicole Collazo-Santiago, Yolanda Adams, Carmen
Cabrera, Pastor Michelle Yvette Townsend de Lopez, Anita Johnson, Kenneth Lumpkin,
Richard Bolar, Jayme Montgomery Baker, and Reverend Willie Brisco. Tr. 128–30,
137–49, 154, 163–72, 371–73, 397–400, 433, 436, 445–47, 491–92, 578, 582.


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of eligible voters without an ID. Barreto also found that 80.5% of the eligible voters without

an ID have no education past the high-school level. Frank Ex. 600 at 29. Because

individuals with less education are likely to be lower income,13 this finding also shows that

a substantial number of voters who lack an ID are low income.

       In light of the fact that a substantial number of the 300,000 plus voters who lack an

ID are low income, Act 23's burdens must be assessed with reference to them rather than

with reference to a typical middle- or upper-class voter. Although the latter voter may have

little trouble obtaining an ID, he or she is not the type of voter who will need to obtain one

in order to comply with Act 23. Thus, in the discussion that follows, I identify the burdens

associated with obtaining a qualifying photo ID and explain how they will impact low-income

voters.

       For almost all low-income voters who lack an ID, the easiest ID to obtain will be the

free state ID card, which is issued by the DMV. To obtain a state ID card, a person generally

must present documents that satisfy four requirements: (1) proof of name and date of birth,

(2) proof of United States citizenship or legal presence in the United States, (3) proof of

identity, and (4) proof of Wisconsin residency. See Wis. Admin. Code § Trans 102.15. The

DMV will only accept certain documents to satisfy each of these requirements.14 However,


          13
         Tr. 1208 (Plaintiffs’ expert, Marc Levine, a Professor of History, Urban Studies and
Economic Development at the University of Wisconsin-Milwaukee, testified that education
levels correlate “quite highly” with levels of employment.).
          14
        The DMV allows a person to apply for either a REAL ID compliant or non-
compliant card. A REAL ID compliant card is a card that satisfies the minimum issuance
standards set out in the REAL ID Act of 2005, and it will be accepted by the federal
government for official purposes (such as entering a federal building or boarding a
commercial airplane). In this opinion, I set out the requirements for obtaining a non-
compliant card because they are a little more flexible.

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if a person has a Wisconsin driver’s license or state ID card that has been expired for fewer

than eight years, the person will be allowed to renew using a procedure that generally

requires only proof of a social security number. Tr. 1092–94; Defs.’ Ex. 1074.

       To prove name, date of birth and United States citizenship, most people will need to

produce a birth certificate. The evidence at trial showed that a substantial number of eligible

voters who lack Act 23-qualifying IDs also lack birth certificates. Professor Barreto, in his

survey of Milwaukee County eligible voters, found that 25,354 persons lacked both a

qualifying ID and a birth certificate.15 Tr. 301–02. Seven of the witnesses who testified about

their own lack of a qualifying ID stated that it was the lack of a birth certificate that was

preventing them from obtaining an ID. Tr. 37–38, 93–94, 209–11, 401, 418–19, 708–09;

Frank Ex. 606 at 7–12.

       To obtain a Wisconsin birth certificate, a person must produce either a driver’s

license or a state ID card or two documents from the following list: (1) a government-issued

ID with photograph, (2) a United States passport, (3) a checkbook or bankbook, (4) a major

credit card, (5) a health-insurance card, (6) a recent, signed lease, or (7) a utility bill or traffic

ticket. Tr. 1663; Frank Ex. 138. The person must also pay a fee of $20. Wis. Stat.

§ 69.22(1)(a).16 Those who were not born in Wisconsin will need to determine how to obtain



        15
          Of those who lacked both an ID and a birth certificate, some were able to satisfy
the name, date of birth, and citizenship requirements using other documents, and thus only
20,162 of the 25,354 persons who lacked birth certificates would have been unable to
satisfy those requirements. Tr. 301–02.
        16
          After the passage of Act 23, two Wisconsin counties, Dane and Milwaukee,
allocated sums to pay for Wisconsin birth certificates for persons born in those counties.
Tr. 494, 535–36, 1793.


                                                 27



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a birth certificate from their place of birth. It generally takes more time and expense to

obtain a birth certificate from outside one’s state of residence than it does to obtain a birth

certificate from within the state. See LULAC Ex. 811 ¶ 60. Professor Barreto found that

46.9% of eligible voters in Milwaukee County who lack both an accepted photo ID and a

valid birth certificate were born outside Wisconsin. Frank Ex. 600 at 24.

       Individuals who need a free state ID card must also produce a document that the

DMV will accept as proof of identity. Professor Barreto found that there are approximately

1,640 eligible voters in Milwaukee County alone who do not have qualifying photo IDs and

do not have any of the documents the DMV accepts to prove identity. Frank Ex. 600 at 37.

Newcomb, one of the eight witnesses who testified about their inability to obtain an ID,

testified that when he tried to obtain a state ID card he was unsuccessful because he lacked

proof of identity. Tr. 845–46. Other witnesses, Dewayne Smith and Carl Ellis, testified that

they did not have proof of identity when Act 23 first passed and had to obtain such proof

before they could apply for state ID cards. Tr. 562–63, 566–67, 856–58.

       Most voters who do not have proof of identity will need to procure a social security

card, as this is the most commonly available document to use to prove identity. Defs.’ Ex.

1077; Tr. 467, 1819. To obtain a social security card, a person must visit the Social Security

Office and show “convincing documentary evidence of identity.” 20 C.F.R. § 422.10(c). Such

evidence “may consist of a driver’s license, identity card, school record, medical record,

marriage record, passport, Department of Homeland Security document, or other similar

document serving to identify the individual.” Id. Voters who need free state ID cards to vote

will not have driver’s licenses, state ID cards or passports, so they will need to present one

of the other items on the list. If they do not have one of these items, they will need to

                                              28



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procure one by visiting a school, hospital or another governmental agency, where they may

again be asked for an ID, and the document may cost money. See Tr. 857 (Smith had to

ask his sister to show the hospital her photo ID so he could get his medical records to apply

for a social security card); Tr. 121 (marriage certificate from the State of Illinois costs $11).

       The remaining documentary requirement to obtain a state ID card is proof of

residence. For most voters, this requirement will be easy to satisfy, as the DMV accepts a

variety of documents that most individuals are likely to have on hand. Still, homeless voters

who do not have a relationship with a social-service agency will be unable to prove

residency. Tr. 1889 (homeless people can only prove residence by getting a letter from a

social service agency). And they will be unable to provide the DMV with a physical address

where it can send their ID cards once they are ready. Id. This will make it impossible for

them to obtain a state ID card because the DMV does not allow individuals to pick up ID

cards in-person. Id.

       Having explained the general legal requirements for obtaining a free state ID card

and identified the necessary underlying documents, I consider the practical obstacles a

person is likely to face in deciding whether to obtain an ID for voting purposes. Again,

because most individuals who lack ID are low income, I consider these obstacles from the

perspective of such an individual.

       The first obstacle to obtaining an ID will be to identify the requirements for obtaining

a free state ID card. I am able to summarize the requirements for obtaining an ID because

I have access to the Wisconsin Statutes and Administrative Code and heard testimony on

the topic at trial. A typical voter who needs an ID, however, must educate him or herself on

these requirements in some other way. Although this may be easy for some, for others,

                                               29



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especially those with lower levels of education, it will be harder. Moreover, a person who

needs to obtain one or more of the required documents to obtain an ID, such as a birth

certificate, must determine not only the DMV’s documentation requirements, but also the

requirements of the agency that issues the missing document. This adds a layer of

complexity to the process. See,e.g., Tr. 93–94 (Davis testified that the DMV told him he

needs to order his birth certificate from Tennessee but he has no idea how to go about

ordering it).

       Assuming the person is able to determine what he or she needs to do to obtain an

ID, the person must next consider the time and effort involved in actually obtaining the ID.

This will involve at least one trip to the DMV. There are 92 DMV service centers in the state.

Defs.’ Ex. 1071. All but two of these close before 5:00 p.m. and only one is open on

weekends. Tr. 1083–84, 1806–07. So, it is likely that the person will have to take time off

from work. The person will either need to use vacation time if it’s available or forego the

hourly wages that he or she could have earned in the time it takes to obtain the ID. See Tr.

845 (Newcomb was unable to take paid time off from work to obtain an ID). The person will

also have to arrange for transportation. Since this person does not have a driver’s license

and is low income, most likely he or she must use public transportation or arrange for

another form of transportation. See Tr. 845–46 (Newcomb does not have a car and had to

take a 45-minute bus ride to get to the DMV); Tr. 211 (Brown paid $3.00 each way to a

driver from Medicare so she could get to the DMV); Tr. 562, 566–67 (Ellis walked to the

DMV, which took 45 minutes each way, because he does not have a car and could not

afford bus fare); Tr. 151–52 (Adams testified that the DMV in Kenosha is “out in the county,”

which means people who live in the inner-city and do not have cars must take the bus to

                                             30



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get there); Tr. 430–33 (Lumpkin stated that the location of the DMV in Racine County is a

problem because it is 3–5 miles away from the inner-city where the majority of the city’s

population lives, and cabs do not serve the inner-city); see also Frank Ex. 635 at 50–51

(GAB received a lot of complaints from voters who were having a hard time getting to the

DMV, even from people in the City of Milwaukee, which has a “pretty good” public

transportation system). Further, for some individuals public transportation will be of no help

because not all of the DMV’s service centers are accessible by public transit. Tr. 1848.

       If the person does not have all of the documents the DMV requires to obtain an ID,

then the person will most likely have to visit at least one government agency in addition to

the DMV. If that is the case, then the person will likely have to take even more time off of

work and pay additional transportation costs. Tr. 856–58 (Smith testified that he had to take

the bus and ask for rides from others in order to visit the DMV, the Social Security Office,

and other locations). Perhaps it is possible for a person to obtain a missing underlying

document by mail, but even so that will require time and effort.

       A person who needs to obtain a missing underlying document is also likely to have

to pay a fee for the document. For some low-income individuals, it will be difficult to pay

even $20.00 for a birth certificate. See Tr. 1988–89 (Robert Spindell, a member of the

Board of Election Commissioners for the City of Milwaukee, stated that he personally knows

individuals who will cannot pay even $20.00 for a birth certificate); see also Tr. 431–32

(“[W]hen the choice is made whether or not to pay $33 for an ID or to put some food on the

table, I think any of us can kinda guess which way people will go.”). Three witnesses,

Thompson, Davis and Ellis, testified that they could barely afford to pay for a birth

certificate. Tr. 88, 564–66, 704–05. And Raymond Ciszewski testified that he has met many

                                             31



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low-income individuals in Milwaukee who have trouble paying for their birth certificates.

Ciszewski is a volunteer at St. Benedict’s Church in Milwaukee. Tr. 530–31. He works in the

church’s birth-certificate program, which helps low-income individuals obtain birth

certificates by paying the birth-certificate fee to the extent it exceeds $5.00. Tr. 534–35. The

program primarily serves homeless individuals, persons recently out of jail and persons in

rehabilitation programs. Tr. 532–33. Ciszewski testified that over the last seven years he

has helped over 600 people acquire birth certificates who would not otherwise have been

able to afford them, and many of these people could barely afford the $5.00 co-pay the

church requires. Tr. 532, 534–36.17


        17
          Some voters will find that there is no birth certificate on file for them in the states
where they were born. This is not a common problem, but it will affect some voters. Tr.
1103, 1161. Melvin Robertson and Nancy Wilde testified that they were born in Wisconsin,
but the Wisconsin Vital Records Office does not have birth certificates on file for them. Tr.
401, 418–19 (Robertson); Frank Ex. 607 at 6–14 (Wilde). Missing birth certificates are also
a common problem for older African American voters who were born at home in the South
because midwives did not issue birth certificates. Tr. 37–38, 205–06, 209, 372, 431, 700.
And Amish Mennonite voters frequently lack birth certificates. Tr. 1856–57. There are also
some voters whose official birth records have been destroyed, for example, in a natural
disaster like Hurricane Katrina. Tr. 479–80, 1856–57.
       If there is no birth record on file in a person’s state of birth, a person can use the
MV3002 procedure to prove citizenship and name and date of birth. This procedure
requires a person to ask his or her state of birth to complete DMV form MV3002, certifying
that there is no birth record on file. Wis. Adm. Code § Trans. 102.15(1), (3)(b). A person
must then submit the completed MV3002 to a DMV team leader or supervisor for review
along with alternative documentation that provides “strong evidence” of the person’s
“name, date of birth and place of birth.” Tr. 1872; see also Wis. Adm. Code § Trans.
102.15(1), (3)(b). Team leaders and supervisors have the discretion to decide on a case-
by-case basis whether a person’s alternative documentation is “strong” enough. Tr. 1872;
Wis. Adm. Code § Trans. 102.15(3)(c). As a result, whether a voter is able to obtain a state
ID card will depend on which DMV service center the voter visits and which supervisor is
on duty.
       The DMV does not, however, publicize the MV3002 procedure because it wants to
minimize exceptions. Tr. 474, 1872, 1877–78. As a result, a person who needs to use the
MV3002 may never learn about it. Consequently, those who need to use it are more likely
to give up trying to get an ID than to be granted an exception. The testimony of Debra

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       An additional problem is whether a person who lacks an ID can obtain one in time

to use it to vote. For many who need an ID, it will take longer than a day or two to gather the

necessary documents and make a trip to the DMV. Indeed, if a person needs to obtain a

birth certificate, especially from another state, it might take weeks or longer to obtain it. Tr.

1114, 1660–61. If an election is imminent, a person may be unable to procure an ID in time

to vote or to validate a provisional ballot by the Friday after the election.

       Another problem that arises is a person’s having errors or discrepancies in the

documents needed to obtain an ID. For example, the DMV requires the name on a person’s


Crawford illustrates this problem. Crawford testified that she first took her mother, Bettye
Jones, to the DMV service center in Waukesha County to get a free state ID card for voting
purposes. But a customer service representative at the DMV told Jones she could not get
a state ID card because she did not have a certified copy of her birth certificate. Tr. 60–61.
Crawford explained that her mother was born at home in Tennessee in 1935 and had
never been issued a birth certificate, and Jones offered the DMV an official letter from the
State of Tennessee stating that it had no birth record on file. Tr. 56–57, 61–62. The
customer service representative told her this was not sufficient. Tr. 62. Crawford asked to
speak with a manager, and the manager agreed with the front-line staff member and
insisted that Jones produce a birth certificate. Tr. 62.
       Crawford asked the vital-records office in Tennessee to conduct another search,
which again produced no birth record. Tr. 64. She then started the complicated process
of applying for a delayed birth certificate. Tr. 64–72. While she was doing this, she
contacted the DMV again via email to confirm that the birth certificate really was required
and was again told that it was. Tr. 74. When she asked a third time if an exception could
be made for extenuating circumstances, she was told, “The supervisor at the DMV station
you go to has the authority to make exceptions; however, I doubt one would be made for
not having either a birth certificate or passport.” Tr. 74. Once she learned that supervisors
had some discretion, Crawford decided to take her mother to the DMV service center in
Milwaukee County in the hopes of finding a more helpful supervisor. Tr. 75. There the
supervisor agreed to waive the birth certificate requirement after viewing Jones’s
alternative documentation. Tr. 75. If Crawford had known about the MV3002 procedure,
Jones’s experience with the DMV might have been much different. As it was, Jones only
received a state ID card because her daughter made multiple inquiries and took Jones to
two different DMV service centers. A voter in Jones’s position who is less tenacious will
have to go through the difficult process of obtaining a delayed birth certificate in order to
preserve her right to vote.


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social security card and birth certificate to match. If there is an error in a person’s social

security record, the person must visit the Social Security Office and correct the record. Tr.

1884.18 If there is an error in a person’s birth certificate, the person must get it amended.19

Making additional trips to government agencies to resolve discrepancies will require more

time off work and additional transportation costs.

       The defendants contend that the burden on those with errors or discrepancies in their



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           Janet Turja, a manager at the DMV’s service center in Waukesha County, testified
that she encounters individuals with errors in their social security records about once or
twice a week. Tr. 480. And Diane Hermann-Brown testified that she had to take her mother
to the Social Security Office because her middle name was “Lois” but Social Security had
it listed as “Loise.” Tr. 1795–96.
        19
           Six witnesses testified at trial that they have had problems with birth certificates,
either their own or a parent’s, that contained errors that the DMV said had to be corrected.
See Tr. 43–51 (Holloway’s name is “Eddie Lee Holloway, Jr.” but the birth certificate says
“Eddie Junior Holloway” and he has not been able to correct it); Frank Ex. 606 at 8–9;
Frank Ex. 1087 (Ruthelle Frank’s maiden name was “Wedepohl” but it is spelled “Wedepal”
on her birth certificate); Tr. 952–53, 965–68 (Lorene Hutchins’s birth certificate was missing
her first name); Tr. 95–100 (Genevieve Winslow’s maiden name was “Genevieve Kujawski”
but her birth certificate says “Ganava Kujansky”); Tr. 113–14 (Miriam Simon’s mother’s
maiden name was “Shirley Grace Mendel” but birth certificate says “Genevieve Shirley
Mendel”); Tr. 1615–16 (William Trokan’s father’s name was “Andrew Trokan” but birth
certificate says “Andro Trokan”). Amending a birth certificate can be expensive and time-
consuming. The process depends on a person’s state of birth and the type of error in the
birth certificate, but most states charge a fee for an amended birth certificate. See, e.g.,
Wis. Stat. § 69.22(5)(a) (standard fee for an amended birth certificate in Wisconsin is
$30.00), see also Frank Ex. 606 at 9–10 (Frank was told it could cost up to $200.00 to get
her Wisconsin birth certificate amended). And a person might need to travel to the place
where he or she was born to collect documents that verify the person’s name, date of birth,
or place of birth, such as early school records or a baptismal certificate. See Tr. 569–71
(the birth date on Reverend Willie Brisco’s Mississippi birth certificate was wrong and his
grandmother in Mississippi had to collect his hospital and school records and travel 210
miles to apply for an amendment for him). A person might even have to hire a local
attorney to apply for an amendment. Tr. 959–63 (to get her Mississippi birth certificate
amended Katherine Clark had to hire an attorney and the process took more than six
months and cost more than $2000).


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underlying documents is mitigated by the fact that the DMV has discretion to grant

exceptions. Although it is true that the DMV will sometimes make exceptions for such

persons, this fact is not made known to applicants, Tr. 1121–24, 1891–94, and thus those

who might benefit from the exception procedure are unlikely to learn of it. Consequently,

those with errors in their underlying documents are more likely to give up trying to get an ID

than to be granted an exception. The testimony of Genevieve Winslow illustrates this

problem. Winslow is eligible to vote in Wisconsin. She testified that she did not have a

qualifying photo ID when Act 23 went into effect, so she visited the DMV service center in

Milwaukee County on Grange Avenue to apply for a free state ID card for voting purposes.

Tr. 111. She brought with her a certified copy of her birth certificate, a certified copy of her

marriage certificate, her social security card, her Medicare card, her property tax bill and her

expired passport. Tr. 106. But the DMV employee who reviewed her application told her she

could not get an ID because her name is misspelled on her birth certificate. Tr. 99–100. Her

maiden name was Genevieve Kujawski, but her birth certificate says “Ganava Kujansky”

(Ganava is the Polish version of Genevieve). Tr. 95–96. The employee told Winslow she

would need to get her birth certificate amended. Tr. 106–07. Winslow and her son asked

to speak with two different supervisors, who both agreed that Winslow would need to get

an amended birth certificate. Tr. 107. Her son was frustrated by this experience and

decided to call Winslow’s state senator, Senator Tim Carpenter. Tr. 100–01. An aide in the

senator’s office told Winslow’s son to contact James Miller, an official at the DMV. Tr.

100–01, 109–10. Miller said Winslow should return to the same DMV service center with

the same documentation and ask for a particular supervisor. Tr. 110–11. When she did this,

the DMV issued her an ID. Tr. 111–12. No one ever explained to Winslow why she was able

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to get an ID. They just told her it was a “special deal.” Tr. 101.20


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           Two other witnesses testified that to get an exception they also had to get a public
official involved. Miriam Simon testified that her mother, Shirley Simon, who passed away
shortly before trial, was eligible to vote in Wisconsin. Simon took her mother to the DMV
service center in Milwaukee County on Mill Road after the passage of Act 23 so she could
obtain a free state ID card for voting purposes. Tr. 116. Her mother brought a certified copy
of her birth certificate, her social security card and a utility bill. Tr. 117. But the employee
at the DMV who reviewed Simon’s mother’s application told her she could not get a state
ID card because there was an error on her birth certificate. Tr. 118–19. Her mother’s
maiden name was Shirley Grace Mendel, but her birth certificate said “Genevieve Shirley
Mendel.” Tr. 113–14. All of her other documentation listed her married name, which was
“Shirley M. Simon.” Tr. 117. Simon had anticipated a problem with her mother’s birth
certificate and had brought an affidavit from her uncle explaining that the hospital had
made an error when submitting the information for the birth certificate. Tr. 117–18. The
affidavit was drafted in the 1970s and her mother had previously used it to obtain a
passport. Id. The DMV employee said the affidavit was insufficient and suggested that
Simon’s mother get an amended birth certificate. Tr. 118–19. Like Winslow, Simon was
frustrated by this experience and decided to call her mother’s state senator, Senator Chris
Larsen, for help. An aide in the senator’s office told Simon that the senator would have
someone from the DMV call her. Tr. 119–20. Shortly thereafter, she received a call from
DMV supervisor Barney Hall. Tr. 120–21. He told her that if she got a marriage certificate
for her mother, the DMV would be able to issue her an ID. Id. She did this and returned to
the DMV where a supervisor issued her mother a state ID card. Tr. 122–23.
         William Trokan testified that he took his father, Andrew Trokan, to the DMV in
Milwaukee County on Mill Road to get a free state ID card for voting purposes. Tr.
1614–15. His father brought a certified copy of his birth certificate, his social security card,
his employee ID from Milwaukee County and a utility bill. Tr. 1615. But the DMV employee
who reviewed his father’s application said he could not get an ID because his birth
certificate listed his first name as “Andro,” which is the Slovak spelling of Andrew. Tr. 1615.
All of his other documentation said “Andrew.” Tr. 1615–16. Trokan asked to speak with a
supervisor, but the supervisor agreed that the birth certificate would need to be amended
before the DMV could issue a state ID card. Tr. 1616. Trokan left frustrated and, like
Winslow, called Senator Carpenter. Tr. 1616–1617. Senator Carpenter said he would set
up an appointment for Trokan and his father to return to the DMV. Tr. 1617–18. During this
second visit, the DMV issued Trokan’s father a state ID card. Id.
         Kristina Boardman, the deputy administrator of the DMV, testified that the DMV has
also received emails from public officials on behalf of other voters who had trouble
obtaining state ID cards, and high-ranking DMV officials have intervened on behalf of those
voters. For example, she received an email from Senator Carpenter’s office about Leo
Navulis, a voter who was denied a free state ID card because his name is spelled wrong
on his birth certificate. Tr. 1109. Navulis visited the DMV service center in Milwaukee
County on Chase Avenue and presented a certified copy of his birth certificate and a social
security card, but he was turned away because his social security card said “Leo Peter

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       Given the obstacles identified above, it is likely that a substantial number of the

300,000 plus voters who lack a qualifying ID will be deterred from voting. Although not every

voter will face all of these obstacles, many voters will face some of them, particularly those

who are low income. And the evidence at trial showed that even small obstacles will be

enough to deter many individuals who lack an ID from voting. Professor Burden testified

about the “calculus of voting,” which is “the dominant framework used by scholars to study

voter turnout.” LULAC Ex. 811 at 811; Tr. 1278–83. Under this framework, even small

increases in the costs of voting can deter a person from voting, since the benefits of voting

are slight. Tr. 1279–80. As Burden explained:

       [The framework] suggests that voting is a low-cost, low-benefit activity and
       that very slight changes, marginal changes in the costs can have large effects
       on participation. So even small factors like weather or illness, day-to-day
       interruptions can deter a person from voting. Obviously administrative costs
       imposed by the state could be part of that as well.

Tr. 1279–80; see also Tr. 1220–21 (Professor Levine also testified about the calculus of

voting). Thus, for many voters who lack an ID, even minor burdens associated with

obtaining one will be enough to deter them from voting. Cf. Crawford 472 F.3d at 951

(“[E]ven very slight costs in time or bother or out-of-pocket expense deter many people from

voting, or at least from voting in elections they're not much interested in.”). But in light of the



Navulis” while his birth certificate said “Leo Packus Navwulis.” Frank Ex. 428. Boardman
reviewed Navulis’s case and told the supervisor at the DMV service center to make an
exception and issue Navulis an ID. Id. Boardman also received some emails from
Governor Scott Walker’s office asking officials at the DMV to assist voters who were having
trouble obtaining state ID cards. For example, she received an email about Audrey
Anderson, who had asked the governor for help because her mother had been denied an
ID because there were errors in her birth certificate. Tr. 1861–63; Frank Ex. 429. In
response to the email, Boardman asked another DMV official to meet with Anderson and
try to resolve the situation. Id.

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evidence presented at trial, it is also clear that for many voters, especially those who are low

income, the burdens associated with obtaining an ID will be anything but minor. Therefore,

I conclude that Act 23 will deter a substantial number of eligible voters from casting a ballot.

       C.     Weighing the Burdens Against the State Interests

       In the previous section I determined that Act 23's burdens will deter or prevent a

substantial number of the 300,000 plus voters who lack an ID from voting. “Substantial” is

of course not a precise quantity, but a more precise measurement is impracticable. There

is no way to determine exactly how many people Act 23 will prevent or deter from voting

without considering the individual circumstances of each of the 300,000 plus citizens who

lack an ID. But no matter how imprecise my estimate may be, it is absolutely clear that Act

23 will prevent more legitimate votes from being cast than fraudulent votes. Cf. Crawford,

472 F.3d at 953–54 (assessing whether “there are fewer impersonations than there are

eligible voters whom the [Indiana photo ID] law will prevent from voting”). Thus, Act 23's

burdens are not justified by the state’s interest in detecting and preventing in-person voter

impersonation. Moreover, because the state’s interest in safeguarding confidence in the

electoral process is evenly distributed across both sides of the balance—a law such as

Act 23 undermines confidence in the electoral process as much as it promotes it—that

interest cannot provide a sufficient justification for the burdens placed on the right to vote.

Accordingly, the burdens imposed by Act 23 on those who lack an ID are not justified.

       Having found a violation of the Fourteenth Amendment, I turn to the appropriate

remedy. The lead opinion in Crawford noted that, even if the Indiana photo ID law placed

an unjustified burden on some voters, the plaintiffs had not demonstrated that the proper

remedy would be to invalidate the entire statute. 553 U.S. at 203. In the present case,

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however, invalidating Act 23 is the only practicable way to remove the unjustified burdens

placed on the substantial number of eligible voters who lack IDs. The plaintiffs suggest that

I could order the defendants to allow eligible voters without photo IDs to vote without

showing an ID or by signing an affidavit affirming their identities and lack of an ID. However,

ordering such relief would be the functional equivalent of enjoining the current law and

replacing it with a new law drafted by me rather than the state legislature. It is not clear that

this approach would amount to a narrower remedy than simply enjoining the current law.

Moreover, the Supreme Court has instructed the federal courts to avoid “judicial legislation,”

United States v. Nat’l Treasury Employees Union, 513 U.S. 454, 479 (1995), and this is an

apt term for the remedy envisioned by the plaintiffs. To grant this remedy, I would need to

make a policy judgment as to whether eligible voters who do not have IDs should be

required to sign affidavits of identity before receiving a ballot. And, if I found that an affidavit

was required, I would need to decide what language the affidavit should contain. Once I

issued this relief, I would have to supervise the state’s election-administration officials to

ensure that they were properly implementing my instructions. These tasks are outside the

limited institutional competence of a federal court, and therefore I may not rewrite the photo

ID requirement to conform it to constitutional requirements. See Ayotte v. Planned

Parenthood, 546 U.S. 320, 329–30 (2006). I conclude that the only practicable remedy is

to enjoin enforcement of the photo ID requirement.21




        21
         I also note that the defendants have not suggested that any remedy other than
enjoining enforcement of the photo ID requirement would be an appropriate remedy in this
case.

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                          III. Section 2 of the Voting Rights Act

       Both the LULAC plaintiffs and the Frank plaintiffs contend that Act 23's photo ID

requirement violates Section 2 of the Voting Rights Act. Before addressing the merits of this

claim, I address the defendants’ argument that the LULAC plaintiffs lack standing to sue

under the Voting Right Act.

       A.     Standing of LULAC plaintiffs

       The defendants contend that the four LULAC plaintiffs lack standing to pursue a

claim for injunctive relief under Section 2 of the Voting Rights Act. Whether they do has little

practical significance, as the plaintiffs in the Frank case unquestionably have standing to

pursue a claim for injunctive relief under Section 2, and only one plaintiff with standing is

needed. See Crawford, 472 F.3d at 951. Nonetheless, because one or more of the plaintiffs

with standing might drop out of this case before it is finally resolved, I will determine whether

all four of the LULAC plaintiffs have standing to seek injunctive relief under Section 2.

       The defendants argue that the LULAC plaintiffs lack Article III standing and also lack

what is known as “statutory standing.” I will begin with Article III standing, which requires a

plaintiff to show that he or she has suffered an injury in fact that is fairly traceable to the

challenged acts of the defendant and that is likely to be redressed by a favorable judicial

decision. See, e.g., Lujan v. Defenders of Wildlife, 504 U.S. 555, 560–61 (1992). Each

element of standing must be supported in the same way as any other matter on which the

plaintiff bears the burden of proof, i.e., with the manner and degree of evidence required

at the successive stages of the litigation. Id. at 561. We are at the trial stage of this case,

and so the elements of standing must be supported by the evidence adduced at trial. Id.



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The only element of Article III standing that is in dispute is whether the LULAC plaintiffs

have suffered an injury in fact. For this reason, I will not discuss the traceability or

redressability elements.

       The LULAC plaintiffs contend that they have established standing in two ways. First,

they contend that they have standing to seek redress for their own injuries. Second, they

contend that they have “associational” standing, which allows an organizational plaintiff to

bring suit to redress an injury suffered by one or more of its members, even if the

organization itself has not been injured. See, e.g., Hunt v. Washington State Apple

Advertising Comm'n, 432 U.S. 333, 343 (1977).

       Turning first to the question of whether the LULAC plaintiffs have suffered their own

injuries, I conclude that they have. It is well-established that an organization suffers a

cognizable injury in fact when it devotes resources, however minimal, to dealing with effects

of a law that are adverse to its interests. See, e.g., Havens Realty Corp. v. Coleman, 455

U.S. 363, 379 (1982); Crawford, 472 F.3d at 951. I find based on the evidence adduced at

trial that all four LULAC plaintiffs have devoted resources to dealing with the effects of Act

23 and would devote additional resources to dealing with those effects if the state-court

injunctions were lifted. Each plaintiff devoted resources to educating its members and

others whose interests it serves about the law and to helping individuals obtain qualifying

forms of photo ID, and each plaintiff would do so again if Act 23 were reinstated. Tr.

146–49, 185–88 (LULAC); Tr. 375, 386 (Cross Lutheran Church); Tr. 343–47, 357–58

(Milwaukee Area Labor Council); Tr. 489–92, 519–20 (Wisconsin League of Young Voters).

Accordingly, all four plaintiffs have standing to seek injunctive relief to redress their own

injuries.

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       The defendants advance two reasons why the LULAC plaintiffs do not have standing

in their own right. First, relying on a case from the Fifth Circuit, the defendants point out that

not every diversion of resources establishes an injury in fact. See NAACP v. City of Kyle,

Texas, 626 F.3d 233, 238 (5th Cir. 2010). But Kyle does not suggest that the diversion of

resources demonstrated by the plaintiffs in this case fails to qualify as an injury in fact. The

resources found insufficient in that case were resources spent litigating the very claim at

issue in the suit.22 Id. at 238. In the present case, no plaintiff is claiming litigation expenses

as an injury in fact. Rather, they point to resources expended on educating their members

and others about the requirements of Act 23 and on ensuring that those members and

others obtain forms of identification that would allow them to vote. This is precisely the kind

of expenditure of resources that the Seventh Circuit deemed sufficient to support standing

in Crawford, 472 F.3d at 951.

       Second, the defendants contend that the LULAC plaintiffs lack standing because

they voluntarily spent resources in response to Act 23 and were not compelled to do so.

This argument, as another court has recognized, “finds no support in the law.” Florida State

Conference of N.A.A.C.P. v. Browning, 522 F.3d 1153, 1166 (11th Cir. 2008). If a voluntary

as opposed to compelled expenditure of resources were insufficient to confer standing, then

Crawford was wrongly decided, as Indiana’s photo-identification law did not “compel” the



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           The court also found that although the plaintiffs claimed to have spent resources
on “prelitigation” activities, they failed to prove that they actually expended resources on
such activities in response to the challenged law. Kyle, 626 F.3d at 238–39. The court
found the plaintiffs had only “conjectured” that in the absence of the law they would have
spent their resources elsewhere. Id. at 239. In the present case, I find that the LULAC
plaintiffs have shown concretely that but for Act 23, they would have spent their resources
elsewhere.

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Democratic Party to expend resources on getting its supporters to the polls.23 Crawford, 472

F.3d at 951. The only support the defendants can find for their argument is a single

sentence in a Seventh Circuit opinion, which the defendants take out of context. The

sentence is “No one has standing to object to a statute that imposes duties on strangers.”

Freedom From Religion Foundation v. Obama, 641 F.3d 803, 805 (7th Cir. 2011). Taken

out of context, this sentence implies that a person lacks standing to challenge a statute

unless the statute imposes a legal duty on him or her, and that therefore a voluntary

expenditure of resources made in response to the effects of the statute would not qualify

as an injury in fact. But the law at issue in that case was a law requiring the President of the

United States to issue each year a proclamation designating the first Thursday in May as

a National Day of Prayer. Id. at 805. This law imposed no duties on anyone other than the

President, and in addition it could not have prompted the plaintiff or anyone other than the

President to expend any resources at all, voluntarily or not. Thus, placed in its proper

context, the sentence cited by the defendants stands for the simple proposition that a

person does not have standing to challenge a law that causes him or her no injury in fact.

It does not stand for the proposition that a voluntary expenditure of resources does not

qualify as an injury in fact.

       Having found that the LULAC plaintiffs have standing to sue to redress their own

injuries, I need not decide whether they also have standing to sue on behalf of their

members. However, in the event that it becomes a relevant question on appeal, I will


        23
         I realize that the opinion in Crawford states that the Indiana law “compell[ed]” the
Democratic Party to devote resources to getting its supporters to the polls, but it is obvious
that the opinion was not using “compelled” in the sense of “required by law.” The Indiana
law did not require the Democratic Party to do anything.

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determine whether the LULAC plaintiffs also have standing to sue on behalf of their

members. An association has standing to bring suit on behalf of its members when: (1) its

members would otherwise have standing to sue in their own right; (2) the interests it seeks

to protect are germane to the association's purpose; and (3) neither the claim asserted nor

the relief requested requires the participation of individual members in the lawsuit. Hunt, 432

U.S. at 343.

       With respect to the first Hunt element, a member of one of the plaintiffs would have

standing in his or her own right if that member is suffering an injury in fact. The defendants

argue that the only way a member of the plaintiffs—that is, an individual voter—could be

suffering an injury as a result of Act 23 is if that member currently lacks an acceptable form

of photo ID and is unable to obtain an acceptable form of photo ID. However, the part of Act

23 that the plaintiffs challenge is the provision requiring a voter to present a photo ID at the

polls. It is the need to present such an ID that injures a voter and confers standing to sue.

See Common Cause/Georgia v. Billups, 554 F.3d 1340, 1351–52 (11th Cir. 2009) (holding

that “[r]equiring a registered voter either to produce photo identification to vote in person or

to cast an absentee or provisional ballot is an injury sufficient for standing”). This means

that even those members of the plaintiffs who currently possess an acceptable form of ID

have standing to sue. Id. at 1352 (“[T]he lack of an acceptable photo identification is not

necessary to challenge a statute that requires photo identification to vote in person.”).24

Thus, every member of the plaintiff organizations who is a Wisconsin voter has suffered an

injury in fact. As the defendants do not dispute that each plaintiff has members who intend


        24
        I also note that IDs expire, and so even if a person currently holds a valid ID, Act
23 burdens that person with the obligation of keeping it valid.

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to vote in Wisconsin elections, I conclude that all four LULAC plaintiffs have members who

are injured by Act 23.

       Moreover, even if the lack of an acceptable photo ID were a prerequisite to standing,

at least one of the LULAC plaintiffs, Cross Lutheran Church, has members who lack such

an ID. Weddle, an African American member of the Church, testified at trial that she

currently does not possess an acceptable form of photo identification. Tr. 35–36. I find her

testimony credible and conclude that she does not, in fact, possess an acceptable form of

photo identification. The defendants contend that Weddle could if she tried hard enough

obtain an acceptable form of identification, but this has no bearing on her standing to sue.

The premise of this lawsuit is that voters should not have to bear the burdens associated

with obtaining and presenting identification in order to vote. A plaintiff who must bear those

burdens in order to vote is necessarily injured by Act 23, whether or not he or she would be

successful in obtaining and presenting an ID. Accordingly, I find that Cross Lutheran Church

has members who have standing to challenge Act 23 on the ground that they lack

acceptable forms of ID.25

       The second Hunt element requires that the lawsuit be “germane” to the

organization’s purpose. I find that this lawsuit is germane to each LULAC plaintiff’s purpose.

LULAC’s mission is to “advance the economic condition, educational attainment, political

influence, housing, health, and civil rights of the Hispanic population of the United States.”

Tr. 158–59. It is hard to imagine a suit that is more germane to this mission than the present


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          A representative of Cross Lutheran Church testified that it has members besides
Weddle who lack acceptable forms of identification. Tr. 373. From this testimony, I
conclude that Weddle is not the only member of the Church who lacks acceptable
identification.

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suit, which seeks to remove a barrier to minority participation in the political process and

thus advance the political influence of Hispanics. Cross Lutheran Church believes that God

requires it to fight for the civil rights of its members. Tr. 365–66, 377–78. Again, it is hard

to imagine a suit that is more germane to this purpose than the present suit. One of the

purposes of the Milwaukee Area Labor Council is “[t]o organize for social and economic

justice, to propose and support legislation that is beneficial to working families, and to

oppose legislation that harms working people.” Tr. 342–43. Again, the present suit is

germane to this purpose. Finally, this lawsuit is obviously germane to one of the purposes

of the League of Young Voters Education Fund, which is to encourage young people of

color to vote. Tr. 518.

       The third Hunt element asks whether the claim asserted or the relief requested

requires the participation of the organization’s members in the lawsuit. I conclude that the

participation of members is not required. The claims were tried without substantial

participation by the plaintiffs’ members, and nothing about the relief requested—an

injunction—requires their participation. Accordingly, this element is satisfied.

       Having concluded that the four LULAC plaintiffs have Article III standing, I turn to the

defendants’ remaining standing argument, which is that the plaintiffs lack “statutory

standing.” As I noted in a prior opinion, LULAC ECF No. 84, “statutory standing” is not a

matter of standing in the Article III sense but a question of substantive law. The question

is whether the statute under which the plaintiffs sue, here Section 2 of the Voting Rights Act,

authorizes the plaintiffs to sue. See Steel Co v. Citizens for a Better Environment, 523 U.S.

83, 92 (1998).

       With respect to that question, Section 2 allows suits to be instituted by “aggrieved

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person[s].” See 42 U.S.C. § 1973a. The Supreme Court has determined that similar

language in Title VII of the Civil Rights Act of 1964 incorporates the “zone of interests” test.

Thompson v. North American Stainless, LP, __ U.S. __, 131 S.Ct. 863, 870 (2011). Under

this test, a plaintiff may not sue unless he falls within the zone of interests sought to be

protected by the statutory provision whose violation forms the legal basis for his complaint.

Id. at 870. The test denies a right to sue where “the plaintiff's interests are so marginally

related to or inconsistent with the purposes implicit in the statute that it cannot reasonably

be assumed that Congress intended to permit the suit.” Id. (quoting Clarke v. Sec. Indus.

Ass’n, 479 U.S. 388, 399–400 (1987)).

       The defendants contend that only individuals seeking to enforce their right to vote

are within the zone of interests of Section 2, and that organizations seeking to protect the

voting rights of individuals are not within the zone of interests. I disagree. The word “person”

in an act of Congress is presumed to include organizations, see 1 U.S.C. § 1, and thus the

text of the statute does not suggest that a cause of action under Section 2 is limited to

individuals. Moreover, the Senate Report on the bill that added the “aggrieved persons”

language to the Voting Rights Act confirms that Congress intended to confer a right to sue

on organizations seeking to protect the voting rights of their members and others. See S.

Rep. No. 94-295, at 40 (1975), reprinted in 1975 U.S.C.C.A.N. 774, 806–07 (“An ‘aggrieved

person’ is any person injured by an act of discrimination. It may be an individual or an

organization representing the interests of injured persons.”). The evidence adduced at trial

establishes that all four LULAC plaintiffs are organizations representing the interests of

individuals whose voting rights are burdened by Act 23. Therefore, I find that all four LULAC

plaintiffs fall within the zone of interests of Section 2 and are aggrieved persons within the

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meaning of Section 2.

       In support of their argument that the plaintiffs are not aggrieved persons, the

defendants cite Roberts v. Wamser, 883 F.2d 617, 621 (8th Cir. 1989), and various district

court cases that rely on Roberts.26 In Roberts, the Eighth Circuit held that “an unsuccessful

candidate attempting to challenge election results does not have standing under the Voting

Rights Act.” 883 F.2d at 621. Neither this holding nor the reasoning that led to it supports

the defendants’ argument that organizations representing the interests of injured voters

cannot be aggrieved persons under Section 2. In fact, the Eighth Circuit implied that had

the plaintiff in Roberts been suing to protect the rights of other voters, he would have been

an aggrieved person. Id. (“Nor does Roberts allege that he is suing on behalf of persons

who are unable to protect their own rights.”). Accordingly, the defendants’ reliance on

Roberts and the district court cases decided in its wake is misplaced.

       In sum, I find that all four LULAC plaintiffs have Article III standing in two ways: they

have standing to seek redress for their own injuries and also associational standing. I also

find that all four plaintiffs have statutory standing.

       B.     Merits

       Section 2 of the Voting Rights Act prohibits states from imposing or applying “any

voting qualification or prerequisite to voting or standard, practice, or procedure” that “results

in a denial or abridgement of the right of any citizen of the United States to vote on account

of race or color.” 42 U.S.C. § 1973(a). To prove a Section 2 violation, a plaintiff does not


        26
          The defendants cite one district court case that does not rely on Roberts,
Assa‘ad–Faltas v. South Carolina, 2012 WL 6103204 (D.S.C. Nov. 14, 2012), but as I
cannot see any way in which that case supports the defendants’ argument, I will not
discuss it further.

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need to prove discriminatory intent. See Chisom v. Roemer, 501 U.S. 380, 394 & n.21

(1991). Rather, a Section 2 violation is established “if, based on the totality of

circumstances, it is shown that the political processes leading to nomination or election in

the State or political subdivision are not equally open to participation by members of a class

of citizens protected by [§ 1973(a)] in that its members have less opportunity than other

members of the electorate to participate in the political process and to elect representatives

of their choice.” 42 U.S.C. § 1973(b). In the present case, the plaintiffs claim that the

requirement to show a photo ID is a voting practice that results in Blacks and Latinos having

less opportunity to participate in the political process and to elect representatives of their

choice.

       Before going further, I must determine how to apply Section 2 in the context of a

challenge to a voting practice like the requirement to present a photo ID at the polls. Much

of the Section 2 jurisprudence was developed in the context of so-called “vote dilution”

cases. The term “vote dilution”—which is contrasted with the term “vote denial”—describes

cases involving structural devices, such as at-large elections and redistricting plans, that

can be used to minimize or cancel out the effect of minority votes. At-large elections can be

used to minimize or cancel out the effect of minority votes because they submerge a

minority group that would likely constitute a majority in a single-member district within a

larger white majority. Redistricting plans can be used to minimize or cancel out the effect

of minority votes because they scatter a minority voting bloc that would likely constitute a

majority in a properly drawn district among several irregular districts, with the result that the

minority voting bloc within any single district is too small to constitute a majority. The present

case does not involve at-large elections, redistricting plans, or similar structural devices, and

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the legal standards developed for dealing with those devices do not necessarily apply here.

For example, the so-called “Senate factors” or “Gingles factors,” see Thornburg v. Gingles,

478 U.S. 30 (1978), play a central role in vote-dilution cases. However, those factors were

developed to assist courts in resolving the tension between, on the one hand, ensuring that

structural practices such as at-large elections and redistricting plans are not used to dilute

minority voting power, and, on the other, the Congressional directive that Section 2 does

not require proportional representation. See Baird v. City of Indianapolis, 976 F.2d 357, 359

(7th Cir. 1992); Daniel P. Tokaji, The New Vote Denial: Where Election Reform Meets the

Voting Rights Act, 57 S.C. L. Rev. 689, 722 (2006). Factors developed for this purpose are

not necessarily relevant to cases, like this one, that do not present that tension, and in any

event the federal courts have largely disregarded the Senate factors in Section 2 cases that

do not involve challenges to at-large elections, redistricting plans, and the like. See Tokaji,

supra, at 720–21 (arguing that the Senate factors do not help courts decide cases that do

not involve vote dilution and observing that the lower courts have mostly disregarded those

factors in vote-denial cases). Thus, I cannot resolve the present issue by applying the legal

standards developed for vote-dilution cases.27

       Although the vast majority of Section 2 cases involve vote dilution, appellate courts

have extensively discussed Section 2 in the context of felon disenfranchisement, which

does not involve vote dilution and falls into the category of “vote denial.” See, e.g.,

Farrakhan v. Gregoire, 623 F.3d 990 (9th Cir. 2010) (en banc); Simmons v. Galvin, 575

F.3d 24 (1st Cir. 2009); Hayden v. Pataki, 449 F.3d 305 (2d Cir. 2006) (en banc); Johnson


        27
         The defendants agree that the Senate factors are designed for vote-dilution cases
and that they should not be applied in the present case. Defs.’ Post-Trial Br. at 48–50.

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v. Governor of Florida, 405 F.3d 1214 (11th Cir. 2005) (en banc). However, the consensus

that has emerged in those cases is that laws disenfranchising felons do not violate

Section 2 because those laws existed when the Voting Rights Act was enacted in 1965 and

the legislative history of the Act supports the conclusion that Congress did not intend to

invalidate them. See, e.g., Farrakhan, 623 F.3d at 993 (finding that “[f]elon

disenfranchisement laws have a long history in the United States,” and that “Congress was

no doubt aware of these laws when it enacted the VRA in 1965 and amended it in 1982, yet

gave no indication that felon disenfranchisement was in any way suspect”). This reasoning

obviously does not apply to voter photo identification requirements, which are a recent

phenomenon. See Kathleen M. Stoughton, A New Approach to Voter ID Challenges:

Section 2 of the Voting Rights Act, 81 Geo. Wash. L. Rev. 292, 296–98 (2013) (describing

history of voter ID legislation, which begins in the year 2000). Thus, the felon-

disenfranchisement cases are not helpful.

       Because the cases contain only limited guidance,28 I will focus on the text of the

statute. See Gonzalez v. City of Aurora, 535 F.3d 594, 597 (7th Cir. 2008) (emphasizing the

importance of considering the text of Section 2). The key language states that a violation

of Section 2 is established if the totality of the circumstances shows that the challenged

voting practice results in a political process that is not “equally open to participation by

members [of a minority group],” in that the members of that group “have less opportunity

than other members of the electorate to participate in the political process and to elect



       28
         There is one appellate case applying Section 2 in the photo ID context, Gonzalez
v. Arizona, 677 F.3d 383 (9th Cir. 2012) (en banc). However, that case does not set out a
comprehensive test governing Section 2 photo ID cases.

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representatives of their choice.” 42 U.S.C. § 1973(b). The meaning of this language is clear:

“Section 2 requires an electoral process ‘equally open’ to all, not a process that favors one

group over another.” Gonzalez, 535 F.3d at 598. Justice Scalia, in a dissent in a vote-

dilution case, provided the following illustration of the meaning of Section 2: "If, for example,

a county permitted voter registration for only three hours one day a week, and that made

it more difficult for blacks to register than whites, blacks would have less opportunity ‘to

participate in the political process’ than whites, and Section 2 would therefore be

violated . . . ." Chisom, 501 U.S. at 407–08 (Scalia, J., dissenting). Based on the text, then,

I conclude that Section 2 protects against a voting practice that creates a barrier to voting

that is more likely to appear in the path of a voter if that voter is a member of a minority

group than if he or she is not. The presence of a barrier that has this kind of

disproportionate impact prevents the political process from being “equally open” to all and

results in members of the minority group having “less opportunity” to participate in the

political process and to elect representatives of their choice.

       The next question is whether the evidence adduced at trial shows that Wisconsin’s

photo ID requirement creates a barrier to voting that is more likely to appear in the path of

a voter if that voter is Black or Latino. The photo ID requirement applies to all voters,

regardless of race. However, as explained in Section II.B, above, the requirement places

a unique and heightened burden on those who must obtain an ID if they wish to continue

voting in Wisconsin. These individuals are more likely to be deterred from voting than those

who obtained their photo IDs for other reasons, such as driving. The evidence adduced at

trial demonstrates that this unique burden disproportionately impacts Black and Latino

voters. As the defendants concede, the plaintiffs’ evidence “shows that minorities are less

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likely than whites to currently possess qualifying ID.” Defs.’ Post-Trial Brief at 1. Because

the defendants concede that minorities are less likely than whites to currently possess a

photo ID, it is not necessary for me to discuss the evidence adduced at trial in support of

this point and make explicit findings of fact. Nonetheless, because the parties presented

substantial evidence on this question at trial and explicit findings might prove useful in the

event of an appeal, I will explain how the evidence adduced at trial leads to the conclusion

that, in Wisconsin, Blacks and Latinos are less likely than whites to possess a qualifying

form of photo identification.

       Three of the plaintiffs’ expert witnesses offered testimony supporting the conclusion

that Blacks and Latinos in Wisconsin are less likely than whites to possess a qualifying ID.

First, the plaintiffs presented the testimony of Leland Beatty. As discussed in more detail

in Appendices A and C,29 Beatty compared a list of Wisconsin registered voters to a list of

individuals holding a Wisconsin driver’s license or state ID card and attempted to determine

how many registered voters could be matched to a corresponding driver’s license or state

ID card. Then, using the assistance of a third party, Beatty determined the likely race of the

Wisconsin registered voters who could not be matched to a driver’s license or state ID card

and computed the percentage of registered voters of each race who lacked such forms of

ID. After performing this analysis, Beatty concluded that minority registered voters in

Wisconsin “were substantially more likely to be without a matching driver’s license or state

ID than white voters.” Tr. 645. Specifically, he found that data for the year 2012 showed that


        29
         Appendix A discusses Beatty’s methodology and findings insofar as they bear on
the question of the number of Wisconsin voters who lack an ID. Appendix C discusses
Beatty’s methodology and findings insofar as they bear on the question of whether the
voters who lack an ID are disproportionately Black and Latino.

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African American voters in Wisconsin were 1.7 times as likely as white voters to lack a

matching driver’s license or state ID and that Latino voters in Wisconsin were 2.6 times as

likely as white voters to lack these forms of identification. Tr. 646–47, 658; LULAC Ex. 2.

He also found that data for the year 2013 showed that African American voters in Wisconsin

were 1.4 times as likely as white voters to lack a matching driver’s license or state ID and

that Latino voters were 2.3 times as likely as white voters to lack these forms of

identification. Tr. 686; LULAC Ex. 817 ¶¶ 4, 9. I consider Beatty’s findings and opinions

credible and have given them significant weight in making my findings of fact.

       Before moving on, I note that Professor Hood performed a matching analysis that

was similar to Beatty’s, except that he did not attempt to identify the race of the registered

voters who did not possess an ID. As discussed in more detail in Appendix A, under some

of Hood’s criteria for determining whether a given registered voter could be matched to an

ID, Hood found that the number of registered voters who could not be matched was smaller

than the number found by Beatty: Beatty found that about 317,000 registered voters lacked

an ID, while under the loosest of Hood’s criteria only about 167,000 registered voters lacked

an ID. For the reasons explained in Appendix A, I find Beatty’s number more reliable than

Hood’s. But it is worth noting that when Beatty analyzed the racial breakdown of the voters

Hood deemed to be without IDs, he found that the disproportionate impact on Blacks and

Latinos was even greater: using Hood’s numbers, Beatty found that both Blacks and Latinos

were more than twice as likely as whites to lack driver’s licenses or state ID cards. Tr.

682–84.

       Next, the plaintiffs presented the testimony of Professor Barreto. Like Beatty, Barreto

offered opinions on the existence of racial disparities in the possession of photo

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identification. However, the scope of Barreto’s opinions differ from Beatty’s in three ways.

First, while Beatty examined ID possession by individuals who are registered to vote,

Barreto examined ID possession by individuals who are eligible to vote. Second, while

Beatty examined statewide possession rates, Barreto focused on Milwaukee County. Third,

while Beatty focused on possession of driver’s licenses and state ID cards, Barreto

investigated possession rates of all forms of Act 23-qualifying ID.

       As indicated in Section II.B and Appendix B, Barreto’s opinions were based on a

telephonic survey of Milwaukee County residents. The results of the survey showed that a

sizable portion of the population of eligible voters in Milwaukee County do not possess

either a qualifying form of ID or the documents needed to obtain a qualifying form of ID.

Frank Ex. 600 at 16–17. Moreover, the results showed that Black and Latino eligible voters

are less likely than white voters to possess a qualifying form of ID. Specifically, Barreto

found that while only 7.3% of eligible white voters lack a qualifying form of ID, 13.2% of

eligible African American voters and 14.9% of eligible Latino voters lack a qualifying form

of ID. Tr. 304.

       The defendants offer several reasons why I should give Barreto’s findings limited

weight. I have already discussed these reasons somewhat in Appendix B, in the context of

determining the number of Wisconsin voters who lack IDs and the burdens they will face.

Here I will discuss these reasons in the context of determining whether those who lack

qualifying IDs are disproportionately likely to be Black or Latino.

       First, the defendants contend that Barreto’s findings are outdated. The survey was

conducted in January of 2012, and the trial of this matter was held in November of 2013.

The defendants note that between the time of the survey and the time of trial, Wisconsin’s

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free ID program was in effect, that a significant number of people obtained IDs through this

program during that time, and that a disproportionate share of free IDs were issued to Black

and Latino voters. Thus, argue the defendants, it is possible that the free ID program

mitigated somewhat the disparity in possession rates by the time of trial. I agree that this

is possible. But the defendants do not suggest that the free ID program eliminated the

disparity in possession rates identified in Barreto’s survey. Moreover, at the time of

Barreto’s survey, the free ID program had been in effect for six months,30 and thus to some

extent the survey results do account for the issuance of free IDs. Finally, it would be

speculative to conclude that those who obtained free IDs since the time of Barreto’s survey

are individuals who previously lacked a qualifying form of ID. Many of the free IDs could

have been issued as replacement IDs to individuals who already possessed IDs at the time

of Barreto’s survey, or as duplicate IDs to individuals who already possessed another form

of ID at the time of the survey, such as a driver’s license.31 And looking at the number of

free IDs issued in isolation fails to take into account possible changes in the population of

eligible voters: perhaps there has been an increase in the population of eligible voters, and

although many new voters have obtained free IDs, many others have not obtained any form

of ID. The defendants’ own expert witness agreed that it would be speculative to draw

conclusions about the disparity in possession rates based on the issuance of free IDs alone.


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        The free ID program began in July 2011, Tr. 1806, and Barreto’s survey was
conducted between December 2011 and January 2012.
       31
           As discussed in Appendix B, although the DMV is not supposed to issue state ID
cards to individuals who already possess a valid driver’s license, the data that the DMV
provided to Beatty and Hood reflects that the DMV has issued many individuals both a
driver’s license and a state ID card. See also Tr. 739.


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Tr. 1559–61. Finally, Beatty updated his matching analysis just prior to trial, and he found

that racial disparities in possession rates persist. Thus, despite the age of Barreto’s survey,

I remain convinced that his results support the conclusion that Blacks and Latinos are less

likely than whites to possess qualifying forms of ID.

       The defendants also point out that Barreto studied possession rates in Milwaukee

County rather than statewide, and that therefore his findings do not prove that the

disparities he found exist at the state level. This is a fair point, but it is weakened by the fact

that Beatty studied statewide possession rates and found that the disparities Barreto

identified in Milwaukee County do exist at the state level. Moreover, Milwaukee is the largest

county in the state and has the state’s largest populations of Blacks and Latinos, and thus

findings based on a study of Milwaukee County alone are suggestive of what a statewide

study would find. Tr. 284–85, 1517–20. Finally, there is no reason to think that in other parts

of the state minorities possess IDs at such high rates and whites possess IDs at such low

rates that the disparities found in Milwaukee County would be cancelled out if individuals

from outside of Milwaukee were included in the study. To the contrary, a study of voting-age

adults in Wisconsin published in 2005 found that Blacks and Latinos residing outside of

Milwaukee County were less likely than whites to possess a valid driver’s license. See John

Pawasarat, The Drivers License Status of the Voting Age Population in Wisconsin, p. 22

(UW-Milwaukee Employment and Training Institute, June 2005); LULAC Ex. 58.32



        32
          This study reported that in Milwaukee County, 73% of white adults, 47% of Black
adults, and 43% of Hispanic adults possessed valid driver’s licenses. The study reported
that in the balance of the state, 85% of white adults, 53% of Black adults, and 52% of
Hispanic adults possessed valid driver’s licenses.


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Accordingly, I conclude that Barreto’s findings, when added to the other evidence in this

case, support the conclusion that minorities in Wisconsin are less likely than whites to

possess a qualifying ID.

       The remaining expert witness who offered testimony on the disparity in ID

possession rates among minorities and white voters is Professor Burden. He identified a

consensus in the literature showing that Black and Latino voters in Wisconsin and

elsewhere in the United States are less likely than white voters to possess photo IDs. Tr.

1329–34. Burden cited the following studies: (1) a study performed by Professor Barreto

and others showing that minorities in Indiana were less likely than whites to possess photo

IDs, see Matt A. Barreto, et al., The Disproportionate Impact of Voter-ID Requirements on

the Electorate—New Evidence from Indiana, 42 PS: Political Science & Politics 111 (2009);

(2) an article coauthored by the defendants’ expert witness, Professor Hood, which found

that Blacks and Latinos in Georgia were less likely than whites to have driver’s licenses, see

M.V. Hood III & Charles S. Bullock III, Worth a Thousand Words? An Analysis of Georgia’s

Voter Identification Statute, 36 Am. Politics Research 555 (2008) (Def. Ex. 1005); (3) a

study by the American Automobile Association showing that, in the United States, 18-year-

old whites are significantly more likely than 18-year-old Blacks and Latinos to have driver’s

licenses, see AAA Foundation for Traffic Safety, Timing of Driver’s License Acquisition and

Reasons for Delay among Young People in the United States, 2012, at 11, table 3 (August

2013), available at www.aaafoundation.org/research/completed-projects (last viewed April

28, 2014); and (4) the study by Pawasarat, discussed above, finding that in 2005 Black and

Latino adults in Wisconsin were much more likely than white adults to lack valid driver’s

licenses, LULAC Ex. 58. Burden’s testimony and the literature he cites reinforce the

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conclusion that Black and Latino voters in Wisconsin are more likely than white voters to

lack qualifying IDs.

       The defendants have pointed to no evidence introduced at trial or studies performed

by others showing that Blacks and Latinos in Wisconsin or elsewhere possess IDs at the

same or nearly the same rates as whites. To the contrary, as noted, they concede that

“minorities are less likely than whites to currently possess qualifying ID.” Defs.’ Post-Trial

Br. at 1. Thus, in light of the evidence presented at trial and the defendants’ admission, the

conclusion that Blacks and Latinos disproportionately lack IDs is inescapable.33

       Although the defendants concede that Blacks and Latinos disproportionately lack

IDs, they argue that the plaintiffs have not shown that Blacks and Latinos are incapable of

obtaining qualifying IDs. This argument depends on the premise that a violation of Section

2 cannot be found unless the challenged voting practice makes it impossible for affected

minorities to vote. As defense counsel argued in his closing:

       Even if the Court accepts all of the plaintiffs' expert testimony and
       declarations in this case regarding statistics and data and estimates, plaintiffs
       have not shown that those Wisconsin voters who currently lack a form of Act


        33
          The defendants contend that some of the evidence at trial shows that there is a
“trend toward greater driver license and state ID possession rates for minorities.” Defs.’
Post-Trial Br. at 39. Primarily, they rely on Beatty’s findings, which show that, in 2013, the
possession rates for Blacks and Latinos were higher than they were in 2012. However, as
Beatty explained, one cannot infer that a trend exists from only two data points. Tr. 689.
Moreover, Beatty had more complete data in 2013 than he did in 2012, and this might
explain the difference in possession rates. Tr. 689–90. In any event, even if there were a
trend showing improvements in possession of qualifying IDs by minorities, this would have
no legal significance. The most a trend would show is that it is possible that at some point
in the future Act 23 would not have a disproportionate impact on minorities. But I must
grant or deny relief based on the conditions that were shown to exist at the time of trial, not
on conditions that may or may not exist at some unknown point in the future. Thus, the
question of whether there is a trend toward greater minority possession rates is irrelevant.


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       23 ID can never, ever obtain a form of Act 23 ID . . . . It is not enough to show
       that minorities are less likely to have a form of Act 23 ID when those voters
       are fully capable of getting a form of Act 23 ID.

Tr. 2134, 2142. Under the defendants’s view of the law, the example given by Justice Scalia

in Chisom—a county’s permitting voting registration for only three hours one day a week

and thereby making it more difficult for Blacks to register than whites—would not involve a

violation of Section 2, since it would of course be possible for every Black person in the

county to register during the one three-hour window per week. However, no authority

supports the defendants’ view of the law. The cases the defendants cite state that “a bare

statistical showing” of disproportionate impact is not enough to prove a Section 2 violation.

See Tr. 2134–35, citing Smith v. Salt River Project Ag. Improvement & Power Dist., 109

F.3d 586, 595 (9th Cir. 1997). But what these cases mean is that beyond showing a

disproportionate impact on minorities, a Section 2 plaintiff must show that the

disproportionate impact is tied in some way to the effects of discrimination. There is nothing

in these cases indicating that a Section 2 plaintiff must show that the challenged voting

practice makes it impossible for minorities to vote or that minorities are incapable of

complying with the challenged voting procedure. Therefore, I reject the defendants’

argument that Act 23 could violate Section 2 only if minorities who currently lack IDs are

incapable of obtaining them.34

       The defendants also argue that the plaintiffs’ have not shown that minorities “face



        34
         Of course, some minorities who lack IDs will find it impossible to obtain them.
Several African American witnesses testified at trial about their unsuccessful attempts to
obtain IDs. See Tr. 36–38 (Weddle); 43–52 (Holloway); 88 (Davis); 210–12 (Brown);
704–05 (Thompson); 844–47 (Newcomb).


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different considerations than whites in obtaining qualifying ID.” Defs.’ Post-Trial Br. at 1–2.

In making this argument, the defendants imply that the burden of having to obtain an ID is

not, by itself, a burden that could result in the denial or abridgment of the right to vote, and

that the plaintiffs must point to some more serious burden that disproportionately impacts

Black and Latino voters before they could establish a violation of Section 2. I disagree. Even

if the burden of obtaining a qualifying ID proves to be minimal for the vast majority of Blacks

and Latinos who will need to obtain one in order to vote, that burden will still deter a large

number of such Blacks and Latinos from voting. As discussed in Section II.C, the plaintiffs’

expert witnesses testified that, under the dominant framework used by scholars to study

voter turnout, even small increases in the costs of voting can deter a person from voting,

since the benefits of voting are slight and can be elusive. Tr. 1279–80, 1220–21. Under this

framework, the need to obtain an ID is likely to deter a substantial number of individuals

who lack IDs from voting, even if most of these individuals could obtain an ID without much

trouble. These individuals, who prior to Act 23 were unwilling to pay the costs necessary to

obtain an ID, are unlikely to pay those costs in order to comply with Act 23 when the

expected benefits of voting are slight. Act 23 thus creates a political process in which white

voters, who are more likely to already possess qualifying IDs than Black and Latino voters,

will not face the deterrent effect of having to obtain an ID that they would not obtain but for

the requirement to present it at the polls, while Blacks and Latinos who wish to vote and

who lack qualifying IDs must pay the cost, in the form of time or bother or out-of-pocket

expense, to obtain what is essentially a license to vote. This is not a political process that

is “equally open to participation” by Blacks and Latinos. 42 U.S.C. § 1973(b). It is one in

which a disproportionate share of the Black and Latino populations must shoulder an

                                              61



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additional burden in order to exercise the right to vote.

       But even if the defendants were correct that the plaintiffs needed to show that Blacks

and Latinos face different considerations than whites in obtaining qualifying IDs, the

plaintiffs would still have shown that Act 23 violates Section 2. There are additional hurdles

that Blacks and Latinos who lack IDs are more likely to have to overcome than whites who

lack them. First, as Professor Barreto’s survey indicates, Black and Latino voters who lack

a qualifying ID are more likely than white voters to also lack one or more of the underlying

documents they would need to obtain a qualifying ID as a first-time applicant. In Milwaukee

County, only 2.4% of white eligible voters lack both a qualifying ID and one or more of the

underlying documents needed to obtain an ID, while 4.5% of Black and 5.9% of Latino

eligible voters lack both an ID and at least one underlying document.35 Frank Ex. 600 at

23–24; Tr. 307–08. The defendants note that Barreto did not determine whether it would

be impossible for those who lack both an ID and an underlying document to obtain the

underlying document, but this misses the point. The point is that Barreto’s survey shows

that even among the pool of white and minority voters who lack IDs, Black and Latino voters

are more disadvantaged than whites because they are more likely to have to overcome two

hurdles in order to vote rather than one. First, they will have to obtain the missing underlying

document, which will likely involve some time (such as a trip to the office of vital records)

and expense (such as the fee for obtaining a birth certificate). Then, they will have to obtain



        35
          Professor Barreto determined that the difference between whites and Blacks, and
the difference between whites and Latinos, are statistically significant. Frank Ex. 600 at 23.
This means that the differences identified in the survey are likely to be real and not merely
the result of chance. Tr. 304–05.


                                              62



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state ID cards, which will involve the time and expense of going to the DMV. The need to

overcome two hurdles instead of one makes the burden more substantial for a

disproportionate share of Blacks and Latinos.

       Another reason why it will be more difficult for many Blacks and Latinos to obtain IDs

is that Blacks and Latinos are more likely to have been born outside of Wisconsin than

whites. Professor Burden identified survey results showing that for the 5-year period ending

in 2011, 75% of white residents were born in Wisconsin, yet only 59% of Blacks and 43%

of Latino residents were born in the state. LULAC Ex. 811 ¶ 60. As discussed in Section

II.B, it generally takes more time and expense to obtain a birth certificate from outside one’s

state of residence than it does to obtain a birth certificate from within the state. See also id.

Therefore, Blacks and Latinos who need to obtain a birth certificate are likely to find

themselves facing a more daunting task than their white counterparts.36 Moreover, Latino

voters who speak primarily Spanish will face additional difficulties as they try to navigate a

process that was designed to accommodate those who speak English. See Tr. 171 (witness

testified that she did not see Spanish forms at DMV and could not get help from bilingual

personnel); Tr. 133 (witness testified that she has worked with Latinos who encountered

language barriers at the DMV).37


        36
           Many older voters of color face the additional problem of never having had an
official birth certificate in the first place. As late as 1950, nearly a quarter of nonwhite births
in rural areas in the United States went unregistered, as opposed to 10% of white births
in rural areas in the United States. S. Shapiro, Development of Birth Registration and Birth
Statistics in the United States, 4:1 Populations Studies: A Journal of Demography 86,
98–99 (1950), available at ECF No. 37-13 in Case No. 12-C-185.
        37
          Many Latino voters who were born in Puerto Rico will have trouble obtaining their
birth certificates because the Puerto Rican government annulled all birth certificates of
individuals born there prior to 2010. To obtain a new birth certificate, a person must either

                                               63



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       Up to this point, I have only discussed the evidence establishing that Act 23 has a

disproportionate impact on Blacks and Latinos. But courts have stated that, to succeed on

a Section 2 claim, a plaintiff must do more than establish that the challenged voting practice

results in a disproportionate impact. See, e.g., Smith v. Salt River Project, 109 F.3d 586,

595 (9th Cir. 1997) (noting that “a bare statistical showing of disproportionate impact on a

racial minority” does not, by itself, prove a violation of § 2). Rather, the plaintiff must also

show that the challenged voting practice produces a “discriminatory result.” Id. What this

seems to mean is that the plaintiff must show that the disproportionate impact results from

the interaction of the voting practice with the effects of past or present discrimination and

is not merely a product of chance. See Gingles, 478 U.S. at 47 (“The essence of a § 2 claim

is that a certain electoral law, practice, or structure interacts with social and historical

conditions to cause an inequality in the opportunities enjoyed by black and white voters to

elect their preferred representatives.”).

       I find that the plaintiffs have shown that the disproportionate impact of the photo ID

requirement results from the interaction of the requirement with the effects of past or

present discrimination. Blacks and Latinos in Wisconsin are disproportionately likely to live

in poverty.38 Individuals who live in poverty are less likely to drive or participate in other


travel to Puerto Rico or pay a “hefty charge” to obtain a new birth certificate by mail. Tr.
131. Professor Barreto found that 16.7% of eligible Latinos in Milwaukee County were born
in Puerto Rico and that 38.4% of those born in Puerto Rico had yet to obtain a new birth
certificate. Frank Ex. 600 at 25.
        38
           Tr. 1193–95 (Black median household income in Metropolitan Milwaukee is 42%
that of whites; this disparity is the second worst out of the 40 largest metropolitan areas;
Hispanic median household income is 56% that of whites; this disparity is ninth from the
bottom out of the 36 largest metropolitan areas); Tr. 1196–97 (in Metropolitan Milwaukee,
Black poverty rate is 39%, Hispanic poverty rate 30%, and white poverty rate is 8%;
disparity between Blacks and whites is the largest of 40 largest metropolitan areas;

                                              64



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activities for which a photo ID may be required (such as banking, air travel, and international

travel),39 and so they obtain fewer benefits from possession of a photo ID than do

individuals who can afford to participate in these activities. In addition, as explained in

Section II.B, low-income individuals who would like to obtain an ID generally find it harder

to do so than do those with greater resources. Cf. Texas v. Holder, 888 F. Supp. 2d 113,

138 (D.D.C. 2012) (finding that “the burdens associated with obtaining an ID will weigh most

heavily on the poor”), vacated on other grounds, 133 S. Ct. 2886 (2013). Thus, we find that

Blacks and Latinos are less likely than whites to obtain a photo ID in the ordinary course of

their lives and are more likely to be without one.

       The reason Blacks and Latinos are disproportionately likely to live in poverty, and

therefore to lack a qualifying ID, is because they have suffered from, and continue to suffer

from, the effects of discrimination. At trial, Professor Levine of the University of Wisconsin-

Milwaukee testified that residential segregation and housing discrimination are major

causes of the socioeconomic disparities between whites and minorities in Wisconsin. By

certain measures, Milwaukee ranks the worst of the 102 largest metropolitan areas in

Black/white segregation and the ninth worst in Latino/white segregation. Tr. 1201–02. This



disparity between Hispanics and whites is the seventh largest out of 36 metropolitan
areas); Tr. 1263–64 (poverty rate for Blacks is 39.2% in Metropolitan Milwaukee and 38.8%
statewide); see also LULAC Ex. 811 ¶ 30 (Professor Burden explains that the poverty rate
in Wisconsin is 11% for Whites, 38% for Latinos, and 39% for Blacks, and that the
Latino-White and Black-White gaps are both greater than the national average).
        39
           Tr. 1302 (Professor Burden explained that “being in an inner-city core and having
somewhat lower levels of socioeconomic status, blacks and Latinos in Wisconsin are more
likely to use public transportation or to walk as a means to get around the city. That means
they're less likely to own a vehicle, less likely to drive, less likely to own a driver's license.”);
see also supra note 9.

                                                65



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level of segregation is, as Levine testified, “the cornerstone from which all of these other

socioeconomic disparities flow.” Tr. 1202–03. It prevents Black and Latino populations in

central Milwaukee from accessing suburban employment opportunities. Tr. 1203. And there

is a robust correlation between metropolitan areas that have high levels of segregation and

low levels of Black male employment. Tr. 1208. Levine also testified that contemporary

segregation can be traced in part to Milwaukee’s history of housing discrimination. Tr.

1204–06.

       The socioeconomic disparities between whites and minorities in Wisconsin are also

traceable to the effects of discrimination in employment. Levine described one study of the

Milwaukee labor market, conducted in the early 2000s, which showed that white job

applicants received call-back interviews more than twice as frequently as Black applicants,

and that even white applicants with criminal records received call-back interviews more

frequently than Black applicants. Tr. 1211–13. Levine concluded that this study showed that

“discrimination was alive and well in the Milwaukee labor market.” Tr. 1212. Levine testified

that racial disparities in education also contribute to the lower socioeconomic status of

Blacks and Latinos in Wisconsin, and that these disparities are likewise a product of

discrimination. Tr. 1214–16.

       Professor Levine summarized his findings concerning the effects of discrimination

on the socioeconomic status of Blacks and Latinos in Wisconsin as follows:

              There’s little question that across the gamut of indicators that I’ve
       looked at that Milwaukee, and to the extent that I have indicators on
       Wisconsin, reveal the sharpest, most pervasive, most persistent, and most
       entrenched racial and ethnic socioeconomic disparities of virtually any region
       of the country.

              Across these indicators, in indicator after indicator, be it poverty, be it

                                              66



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       income, be it employment, be it minority business ownership, be it educational
       achievement, be it incarceration rates, the Black community and the Hispanic
       community in Wisconsin exhibit, without question, the effects of the historical
       legacy of discrimination as well as contemporary practices of discrimination.

Tr. 1217.40 Similar testimony from Professor Burden, see Tr. 1298–1314, lends further

support to the conclusion that the reason Blacks and Latinos are disproportionately likely

to lack an ID is because they are disproportionately likely to live in poverty, which in turn is

traceable to the effects of discrimination in areas such as education, employment, and

housing. Based on this evidence, I conclude that Act 23's disproportionate impact results

from the interaction of the photo ID requirement with the effects of past and present

discrimination and is not merely a product of chance. Act 23 therefore produces a

discriminatory result.

       A remaining question is whether Section 2 requires or allows me to take the state’s

interest in the challenged voting practice into account. There is nothing in the text of

Section 2 indicating that the state’s interest is relevant, but one of the “unenumerated”

Senate factors—whether the policy underlying the challenged voting practice is

“tenuous”—suggests that it is. See Gingles, 478 U.S. at 37. Moreover, it seems reasonable

to understand Section 2 as allowing a state to maintain a voting practice despite any

discriminatory result it produces if the practice is clearly necessary to protect an important

state interest. However, as discussed in Section II.A., Act 23 only weakly serves the state



        40
          Although many of Levine’s findings were derived from evidence concerning
Metropolitan Milwaukee rather than Wisconsin, he noted that 72% of Wisconsin’s Black
population and 45% if its Latino population live in Metropolitan Milwaukee. He concluded
that, given this concentration of minorities in the Milwaukee area, any trends that apply to
Metropolitan Milwaukee “essentially become statewide trends.” Tr. 1263.


                                              67



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interests put forward by the defendants. Accordingly, I conclude that those interests are

tenuous and do not justify the photo ID requirement’s discriminatory result.

       To summarize my findings of fact and conclusions of law regarding the plaintiffs’

Section 2 claim: Act 23 has a disproportionate impact on Black and Latino voters because

it is more likely to burden those voters with the costs of obtaining a photo ID that they would

not otherwise obtain. This burden is significant not only because it is likely to deter Blacks

and Latinos from voting even if they could obtain IDs without much difficulty, but also

because Blacks and Latinos are more likely than whites to have difficulty obtaining IDs. This

disproportionate impact is a “discriminatory result” because the reason Black and Latino

voters are more likely to have to incur the costs of obtaining IDs is that they are

disproportionately likely to live in poverty, and the reason Black and Latino voters are

disproportionately likely to live in poverty is connected to the history of discrimination against

Blacks and Latinos in Wisconsin and elsewhere. Finally, Act 23 only tenuously serves the

state’s interest in preventing voter fraud and protecting the integrity of the electoral process,

and therefore the state’s interests do not justify the discriminatory result. Accordingly, the

photo ID requirement results in the denial or abridgment of the right of Black and Latino

citizens to vote on account of race or color.

       A remaining matter is to identify the appropriate remedy.41 The plaintiffs request a

permanent injunction against enforcement of the photo ID requirement, and the defendants

have not argued that this is not a proper remedy. Moreover, such an injunction is the only


        41
        Although I have already granted the Frank plaintiffs a permanent injunction on the
ground that Act 23 places an unjustified burden on the right to vote, I separately consider
whether I would grant the same remedy under Section 2.


                                                68



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practicable remedy—surely it would make little sense to allow Blacks and Latinos to vote

without showing IDs while continuing to require white voters to show IDs. Thus, I will enjoin

the defendants from requiring voters to present photo IDs in order to cast a ballot.

       The LULAC plaintiffs point out that the Wisconsin legislature might amend the photo

ID provisions of Act 23 in response to this decision. They ask me to make clear that I will

schedule expedited proceedings to address any claim that an amendment to Act 23 has

cured the defects identified in this opinion and provides grounds for relief from the

permanent injunction. I will do so. Should the State of Wisconsin enact legislation amending

the photo ID requirement, and should the defendants believe that, as amended, the photo

ID requirement no longer violates Section 2, they may file a motion for relief from the

permanent injunction. If an election is imminent at the time that the defendants file their

motion, I will schedule expedited proceedings on the motion. However, I also note that,

given the evidence presented at trial showing that Blacks and Latinos are more likely than

whites to lack an ID, it is difficult to see how an amendment to the photo ID requirement

could remove its disproportionate racial impact and discriminatory result.

                                     IV. Other Matters

       There are two remaining procedural matters to consider. The first is the Frank

plaintiffs’ motion for class certification and the second is the defendants’ motion to dismiss

the claims of certain plaintiffs. Given that the relief granted in this case is a permanent

injunction against enforcement of the requirement that eligible voters present a photo ID to

cast a ballot, these matters are moot. The motion for class certification is moot because,

as the defendants concede, all members of the proposed classes will benefit from the

permanent injunction whether or not classes are certified, and there is no reason to formally

                                             69



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certify a class. Defs.’ Br. in Opp. to Mot. For Class Cert. at 8, 20 (arguing that if Act 23 were

enjoined there would be “no need for any classes as the remedy would invalidate the entire

photo identification requirement and cover all of the citizens and registered voters in the

State of Wisconsin”). Similarly, the motion to dismiss the claims of certain plaintiffs is

moot—those plaintiffs will benefit from the relief requested regardless of whether they are

dismissed as plaintiffs. Cf. Crawford, 472 F.3d at 951 (noting that as long as one plaintiff

has standing to seek the injunctive relief requested, question of standing of additional

parties can be ignored).

                                        V. Conclusion

       For the reasons stated, IT IS ORDERED that the named Defendants and

Defendants’ officers, agents, servants, employees, and attorneys, and all those acting in

concert or participation with them, or having actual or implicit knowledge of this Order by

personal service or otherwise, are hereby permanently enjoined from conditioning a

person’s access to a ballot, either in-person or absentee, on that person’s presenting a form

of photo identification.

       IT IS FURTHER ORDERED that the Frank plaintiffs’ motion for class certification is

DENIED as MOOT.

       IT IS FURTHER ORDERED that the defendants’ motion for judgment on partial

findings is DENIED as MOOT.

       FINALLY, IT IS ORDERED that the Clerk of Court shall enter final judgment

consistent with this opinion.




                                               70



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Dated at Milwaukee, Wisconsin, this 29th day of April 2014.

                                         s/ Lynn Adelman
                                         _______________________
                                         LYNN ADELMAN
                                         District Judge




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               Appendix A: Wisconsin Voters Who Lack A Qualifying ID

       I base my finding that approximately 300,000 registered voters in Wisconsin lack a

qualifying ID primarily, but not exclusively, on the testimony of plaintiffs’ expert, Leland

Beatty. Beatty is a statistical marketing consultant with extensive experience both in

business and politics. He sought to determine the number of registered voters who, as of

September 2013, did not possess either a driver’s license or state ID card, which matched

the information maintained in the list of registered voters. Drivers’ licenses and state ID

cards are the two most common forms of Act-23 identification.1 To do this, Beatty obtained

databases from both the DMV and GAB. The DMV database contained information about

individuals with driver’s licenses or state ID cards with expiration dates in September 2013

or later. The GAB database contained information about individuals who were registered

to vote as of September 2013. Beatty compared the information in the databases to

determine how many registered voters could be “matched” to a DMV product.

       Initially, Beatty created three definitions of a “match.” First, he counted a pair of

entries as a match if a person having the same first name, last name, date of birth,

residence county and zip code could be found in both the GAB and DMV databases.

Second, he counted a pair of entries as a match if a person having the same first name, last

name and date of birth could be found in both databases. Third, he counted a pair of entries

as a match if a person having the same last name, date of birth and zip code could be

found in both databases. This latter definition of a match was designed to account for


       1
          Previous to the trial, Beatty prepared reports based on pre-September 2013 data.
I will focus, however, on the results Beatty obtained from the September 2013 data, as
such data best reflects the facts that existed at the time of trial.


                                            72



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individuals who were identified by a nickname in one database and their formal first name

in the other.

          After running these matches, Beatty attempted to “recover” or “reclaim” some of the

non-matches by determining whether circumstances justified deeming them a match. First,

he attempted to match people with multiple-word first or last names such as individuals with

names like Mary Ann or Maryann or those with hyphenated last names. Beatty isolated the

records of individuals with multi-word names and accepted a pair of entries as a match if

either word in the multi-word name matched. Second, he attempted to match individuals

who may have recently changed their last name as indicated by a field in the DMV

database. He did this by treating any person listed in the DMV database as having a former

last name as a registered voter with either a driver’s license or a state ID card if he could

find a person in the GAB database having the same first name, middle initial and date of

birth.2

          After reclaiming as many unmatched registered voters as he could, Beatty

determined that 317,735 registered voters possessed neither a driver’s license nor a state

ID card. The total number of registered voters in Wisconsin was 3,395,688.2 Thus, 9.4% of


          2
          Beatty testified that this last definition of match, i.e., persons with former last
 names who could be matched based on first name, middle initial, and date of birth, might
 have resulted in a slight overcount of the number of voters with “matching” IDs, since in
 such cases the last name on the ID would not match the last name that would appear in
 the poll book. Thus, a poll worker would likely deny the person access to a ballot if he or
 she tried to use the ID to vote. Tr. 688.
          2
         I calculated the total number of registered voters by taking the number from the
 bottom of the "total voters" column of the table that appears in paragraph nine of Beatty's
 2013 declaration (3,373,749) and adding 21,939, which is the number of unmatched
 registered voters who were excluded from the totals in the table because their race could
 not be determined. See LULAC Ex. 817 ¶¶ 8 & 9.

                                              73



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registrants lacked a matching driver’s license or state ID card.

       In response to Beatty, the defendants offered the testimony of M.V. Hood III, a

University of Georgia professor of political science. Hood also attempted to match

registered voters in the GAB database with individuals in the DMV database in order to

identify the number of registrants who possessed a qualifying ID. Hood, however, used

different criteria than Beatty for determining what counted as a match, and he concluded

that between 167,351 (4.9% of registrants) and 368,824 (10.9% of registrants) did not

possess a driver’s license or state ID card.3

       The significant differences between the criteria employed by Beatty and Hood involve

the use of the identification number associated with an entry. In the DMV database, the

identification number is the number that appears on a person’s driver’s license or state ID

card. In 2006, as required by the Help America Vote Act, Wisconsin began asking voters

to write down this number when they registered to vote. Thus, for post-2006 registrants, the

entries in the GAB database include an identification number. Hood used these numbers

in two ways. First, he assumed that two entries qualified as a match if they had matching

identification numbers. Second, employing some of his more “relaxed” criteria, he assumed

that if a person had an identification number associated with his or her entry in the GAB

database, that person also possessed a driver’s license or a state ID card, even if the

person could not be matched to a specific driver’s license or state ID card by other means.

Hood’s use of identification numbers in these two ways caused him to find a greater number


       3
        I derive the percentages by dividing the number of registered voters who lack an
ID by 3,395,695, which is the number of registered voters in the GAB database that Hood
used.


                                            74



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of matches between registered voters and DMV products than did Beatty. And as explained

below, I find that his use of identification numbers in these ways renders his conclusions

about the number of registered voters without an ID suspect. Therefore, I give greater

weight to Beatty’s conclusions than I do Hood’s.

       Regarding Hood’s automatically counting a pair of entries as a match if they

contained the same identification number: In the course of his work, Beatty noticed a large

number of cases in which two individuals with the same identification number had different

names or dates of birth. As an example, Beatty points to a case in which an identification

number in the GAB database was assigned to a person with the first name Damon who was

born in 1980 and resides in Milwaukee County, while the same identification number in the

DMV database was assigned to a person with the first name Danielle who was born in 1971

and resides in Marinette County.4 LULAC Ex. 202 ¶ 6. On the basis of these observations,

Beatty concluded that identification numbers were not unique. The defendants argue that

Hood was right to assume that identification numbers are unique, but the only evidence they

provide in support of this contention is Hood’s testimony, which in turn is based on an

interview he conducted with Debra Kraemer, a DMV employee who told Hood that DMV

identification numbers are unique. Kraemer did not testify at trial, and the defendants have

not explained how she determined that identification numbers are unique. Thus, I will not

credit her hearsay statement. Besides interviewing Kraemer, Hood made no effort to verify

whether identification numbers are unique, such as examining his matches to determine



       4
         I have omitted the last names of these individuals to protect their privacy. However,
their last names are different.


                                             75



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whether the names, dates of birth, etc., matched.5 Tr. 1546. Moreover, the defendants have

not attempted to explain why, if identification numbers are unique, Beatty was able to find

instances in which the same identification number was assigned to two different individuals,

as in the case of Damon and Danielle. For these reasons, I conclude that Hood’s decision

to automatically count a pair of entries as a match if they had matching identification

numbers renders his conclusions about the number of registered voters without an ID

suspect.6

       Regarding Hood’s decision to deem a person with an identification number in the

GAB database as possessing an ID: During his interview with Kraemer, Hood learned that

DMV identification numbers are not permanent and that they are generated using an

algorithm based on a person’s name, sex, and date of birth. Any changes or corrections to

a person’s name or date of birth will cause the DMV to issue a new identification number.

In light of this information, Hood hypothesized that some of the individuals with identification

numbers in the GAB database who did not match an entry in the DMV database had

informed the DMV of changes or corrections to their names or dates of birth. This would

have caused the DMV to issue a new identification number, and this identification number



        5
       Hood testified that he “did some manual checking,” but he did not explain what he
meant by that and, in the same breath, admitted that really he just assumed that state ID
numbers were unique. Tr. 1545.
        6
         I add that although Beatty did not automatically assume that entries with matching
identification numbers were matches, he did give these entries a chance to match by
name, date of birth, zip code and the other criteria he applied to all entries in the
databases. Thus, while Beatty would not have counted the Damon and Danielle case as
a match, he would have counted any entries with matching identification numbers as
matches if those entries satisfied his other criteria.


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would be different than the GAB identification number and also could have explained why

Hood was unable to generate a match using the person’s name and date of birth. Hood also

hypothesized that some of his unmatched voters with identification numbers may have been

in possession of a DMV product that expired before September 11, 2013, the latest date

on which an ID could expire and still appear in the database Hood received from the DMV.

If the ID expired after the date of the last general election, the person holding it could use

it to comply with Act 23 until the date of the next general election. See Wis. Stat.

§ 5.02(6m)(a). On the basis of these hypotheses, which he did not meaningfully test,7 Hood,

under his more relaxed criteria, counted every person in the GAB database with an

identification number associated with his or her name as a registered voter who possessed

a driver’s license or a state ID card that could be used for voting. Hood determined that,

under his relaxed criteria, the number of voters without a DMV product ranged from 167,351

to 285,425. See Defs.’ Ex. 1001 at 6–7 & Table 2.

       In general, I think it is reasonable to assume that a person with an identification

number in the GAB database at one time possessed either a driver’s license or a state ID

card. After all, if a number appears in GAB database, it means that the person had a DMV

identification number at the time he or she registered to vote and wrote that number down

on the registration form. But the fact that a person at one time had a matching DMV product

tells us little about whether that person currently has a matching DMV product. Possibly a


        7
        Hood sent 20 names of individuals with identification numbers in the GAB
database and no corresponding product in the DMV database to Kraemer, and Kraemer
determined that 85% of those cases could be explained by changes to a person’s name.
However, as Hood admitted, no reasonable social scientist would draw conclusions about
a population of about 80,000 from a sample of only 20. Tr. 1537–38.


                                             77



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significant number of people with identification numbers in the GAB database still have the

driver’s licenses or state ID cards they used when they registered, but assuming Hood’s

hypotheses are true, those cards will either be expired or they will have names on them that

differ from the names that appear in the poll books. If they are expired, they could not be

used to comply with Act 23 unless they expired between November 6, 2012 and September

12, 2013, and there is no evidence indicating that the number of IDs with expiration dates

within this range is likely to be significant. If the IDs have different names on them, then it

is unlikely that they could be used to comply with Act 23 because the names on the IDs will

likely not conform to the names that appear in the poll books. See Wis. Stat. § 6.79(2)(a).

Thus, I do not agree that individuals with identification numbers in the GAB database can,

on that basis alone, be counted as individuals who currently possess a driver’s license or

state ID card that could be used to comply with Act 23. As Beatty did not automatically

count such individuals as possessing a DMV product, I give greater weight to his opinion

on the number of registered voters lacking IDs than I do to Hood’s.

       The defendants point out that Beatty did not investigate whether those who lack a

valid driver’s license or a valid state ID card nonetheless possess some other form of

qualifying ID, such as a passport or a military ID. They then note that it is possible that the

percentage of voters who possess only a form of ID other than a driver’s license or a state

ID card could be large. While this is possible, the defendants have pointed to no evidence

suggesting that it is likely that a large percentage of the 317,735 voters who lack a valid

driver’s license or a valid state ID card possess some other form of ID. And plaintiffs’

evidence is to the contrary. As discussed in greater detail in Appendix B, Matthew Barreto,

an associate professor of political science at the University of Washington, conducted a

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telephonic survey of eligible voters in Milwaukee County and asked the survey respondents

about the forms of ID they possessed. One of his findings was that the percentage of

Milwaukee County eligible voters who had only a form of ID other than a driver’s license or

a state ID card was 0.3%. Tr. 300. Although Barreto’s survey was conducted in Milwaukee

County rather than statewide and targeted eligible voters rather than registered voters, there

is no reason to think that the percentage of registered voters in the state who possess only

a form of ID other than a driver’s license or a state ID card is much higher than 0.3%.

Applying this percentage to the number of registered voters in the GAB database provided

to Beatty (3,395,688), we can estimate that about 10,000 voters in Wisconsin possess only

a form of qualifying ID other than a driver’s license or state ID card. If we subtract this

estimate from the number of registered voters without a valid driver’s license or state ID

card, the estimated number of voters without any form of Act 23-qualifying ID in the state

becomes 307,735. As this is an estimate rather than a precise measurement, I will round

down to 300,000 and find that this is the number of registered voters in Wisconsin who, at

the time of trial, did not possess a qualifying form of ID. This is approximately 9% of the

population of registered voters in Wisconsin.




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                   Appendix B: Expert Opinions of Matthew Barreto

       Professor Matthew Barreto is an expert on voting behavior, survey methods and

statistical analysis who, in January 2012, conducted a telephonic survey of eligible voters

in Milwaukee County. Barreto designed the survey in collaboration with Professor Gabriel

Sanchez of the University of New Mexico. The survey asked voters whether they had a

qualifying photo ID as defined in Act 23. It also asked voters whether they had all of the

primary documents required to obtain a free state ID card as a first-time applicant. The

results showed that, of 661,958 eligible voters in Milwaukee County, 9.53% or 63,085 voters

did not possess an acceptable form of photo ID, and 34.1% of these voters—21,512

people—also lacked the primary documents required to get a free state ID card as a first-

time applicant. Frank Ex. 600 at 16–17, 34, 37. Barreto concluded that the most common

problem for individuals who lack primary documents is the requirement that they show proof

of citizenship and name and date of birth. The survey results showed that 32% of the

eligible voters in Milwaukee County who lack a photo ID—20,162 people—do not have

certified copies of their birth certificates or any of the other documents necessary to prove

citizenship. Frank Ex. 600 at 37. Barreto also found that approximately 2.6% of the eligible

voters in Milwaukee County who lack a qualifying photo ID—approximately 1,640

people—do not have any of the documents necessary to prove identity. Id.

       The defendants argue first that Barreto’s data it is outdated because the survey was

conducted in January 2012 and the trial took place in November 2013. They suggest that,

between the time of the survey and the time of trial, many of the individuals who lacked an

ID at the time of Barreto’s survey might have obtained one through the state’s free ID

program. They offer evidence showing that, between July 2011 and September 2013, the

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DMV issued 74,030 free state ID cards to Milwaukee County residents for voting purposes.

Defs.’ Ex. 1001 at 19 (Table 9).

       I agree that it is possible that some of those who lacked an ID at the time of Barreto’s

survey have obtained one, but I find it unlikely that the free ID program substantially

reduced the number of eligible voters without an ID. First, at the time of Barreto’s survey,

the free ID program had already been in effect for six months. Thus, the survey results

account for the issuance of some of the free IDs. Second, some of the free IDs the DMV

issued were replacement or renewal IDs that went to individuals who already had an ID.

See Tr. 1818 (noting that a person can get a replacement or renewal card as part of the free

ID program). Third, it is very likely that some of the free IDs were issued to individuals who

already had driver’s licenses. Although the DMV is not supposed to issue state ID cards to

individuals who already possess a driver’s license, data from the DMV shows that many

individuals in Wisconsin possess both a driver’s license and a state ID card. In April 2012,

one of the plaintiffs’ experts, Leland Beatty, reviewed the DMV’s records and found 112,397

duplicate records in the driver’s license and state ID card databases. LULAC Ex. 2. In these

cases, the driver’s license holder and the ID card holder had the same first name, last

name, date of birth, gender, ethnicity, county of residence and zip code. LULAC Ex. 2.

When Beatty updated his work in September 2013, he found that the number of duplicates

had increased. Tr. 736, 739. Overall he found that about 30% of state ID card holders also

have a driver’s license. Tr. 690.1 One reason for the high number of duplicates might be that


       1
        The defendants’ expert, M.V. Hood III, reached a similar conclusion. When he
compared the driver’s license database to the state ID card database in 2012, he found
114,607 duplicate records. Defs.’ Ex. 1003 ¶ 7. In 2013, he found 146,137 duplicates.
Defs.’ Ex. 1001 at 3.

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there is a common misconception that under Act 23 a person must obtain a special ID card

from the DMV in order to vote even if he or she already has a driver’s license. Tr. 1814.

Fourth, looking at the number of free IDs issued in isolation fails to take into account

possible changes in the population of eligible voters: possibly that population increased. The

defendants’ own expert agreed that it would be speculative to draw conclusions about

current possession rates based on the issuance of free IDs alone. Tr. 1559–61. For all of

these reasons, I find it unlikely that the free ID program has significantly changed the

number of eligible voters who lack an ID.2

       Alternatively, the defendants argue that Barreto’s survey results should be given little

weight because it will be easy for most of those who lack photo IDs to get free state ID

cards. As evidence of this, they point to the testimony of Professor Hood. Hood reviewed

Barreto’s survey and found that it “was conducted in a professional manner using commonly

accepted survey research practices,” and he agreed that the survey results show that only

90.5% of eligible voters in Milwaukee County have a qualifying photo ID under Act 23. Defs.’

Ex. 1003 ¶¶ 20, 26. However, he noted that the survey results show that an additional 6.9%

of survey respondents who do not currently have a qualifying photo ID stated that they have

had a Wisconsin driver’s license or state ID card at some point in their lives. Id. ¶¶ 27–28.

He believes that all of these individuals should be able to easily obtain free state ID cards

for voting purposes because they successfully obtained them in the past. Id. Thus, he



        2
        The defendants suggest that the November 2012 presidential election may have
prompted a large number of individuals who lacked an ID at the time of Barreto’s survey
to obtain one. But Act 23 was enjoined well before that election. Thus, individuals who
lacked an ID would have had little incentive to obtain one.


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concludes that 97.4% of eligible voters in Milwaukee County either have a qualifying ID or

could easily obtain one.

       I reject Hood’s conclusion that it will be easy for all 6.9% of the voters who held IDs

at some point in the past to obtain a state ID card because I do not know anything about

the circumstances of these voters. I do not know how long ago they held their IDs, and I do

not know if they currently possess all of the primary documents required to obtain a state

ID card. Even if a voter at some point had all of the documents required to get a state ID

card, he or she could have lost some of the necessary documents. This is especially true

for low-income voters, who Barreto found are more likely to lack a qualifying ID. Frank Ex.

600 at 28–31. It is also important to note that the DMV’s documentation requirements have

changed and become more strict over time. For example, the DMV used to accept a

baptismal certificate or hospital birth certificate as proof of citizenship, but now it will only

accept a certified copy of a birth certificate. Tr. 1848–49. Thus, a person who was able to

meet the documentation requirements at some point in the past may not be able to do so

today even if they still have all of the documents they used to obtain their first ID card.

       Hood’s analysis does, however, raise a question about how many of the eligible

voters in Milwaukee County who currently lack IDs will be treated as first-time applicants by

the DMV. The DMV treats anyone who had a Wisconsin driver’s license or state ID card that

expired within the last eight years as a renewal applicant, and it only requires renewal

applicants to show proof of identity and, if the person has moved, proof of residence to get

a state ID card. Tr. 1092–94; Defs.’ Ex. 1074. Barreto’s survey data shows that

approximately 9.53% of eligible voters in Milwaukee County—approximately 63,085

people—do not have qualifying photo IDs under Act 23. The DMV will treat approximately

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17,210 of these voters as first-time applicants because they are part of the 2.6% of people

identified by Hood who have never had a Wisconsin driver’s license or state ID card. Defs.’

Ex. 1003 ¶ 27. But it is unclear how many of the remaining approximately 45,875 voters will

be treated as first-time applicants because these voters have had Wisconsin driver’s

licenses or state ID cards at some point in the past. Anyone in this group who has had an

ID that expired within the last eight years will be treated as a renewal applicant.

       Because of the uncertainty about who will be treated as a first-time applicant, the

record does not indicate exactly how many eligible voters in Milwaukee County lack a

qualifying photo ID and the primary documents required to get one. I know from Barreto’s

report that 21,512 voters lack an ID and the documents required to get an ID if they are first

time applicants, but I do not know how many of these voters will actually be treated as first-

time applicants because Barreto did not consider this question. Barreto’s data does,

however, prove three things: (1) approximately 9.53% of the eligible voters in Milwaukee

County, or 63,085 voters, do not have qualifying IDs under Act 23, (2) the DMV will treat at

least 17,210 of these voters as first-time applicants if they apply for a state ID card because

they have never had a Wisconsin driver’s license or state ID card, and (3) there are

approximately 1,640 eligible voters in Milwaukee County alone who lack qualifying IDs and

proof of identity, which the DMV will require them to show regardless of whether they are

a first-time or renewal applicant.




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    Appendix C: Beatty’s Methodology in Determining Disproportionate Impact

       Beatty performed a “matching” analysis of databases maintained by the GAB and the

DMV. The GAB database contained a list of Wisconsin registered voters, and the DMV

databases contained lists of Wisconsin residents who have a current driver’s license and/or

state ID card. Beatty’s methodology proceeded in two major steps. First, he determined how

many registered voters in the GAB database could be matched to either a driver’s license

or a state ID card in the DMV database. I have explained how he performed this step in

Appendix A. Second, Beatty attempted to identify the race of the remaining unmatched

voters. I explain this step of his methodology below.

       Beatty submitted certain information about the unmatched voters to a third party,

Ethnic Technologies, to determine their likely race. The reason Beatty did this is that the

GAB database did not include information about race, and thus he had to determine the

race of the voters who could not be matched to a DMV product through some other

process. Ethnic Technologies is a firm that uses information about the name of a person

and where that person lives to determine his or her likely race and ethnicity (among other

characteristics). Typical clients of the firm include companies and organizations that engage

in direct marketing in which it is important to know the race or ethnicity of the individuals

receiving the company’s marketing materials. Tr. 598–601.

       Beatty explained the general process that a firm like Ethnic Technologies uses to

identify race and ethnicity as follows:

               [Beatty]: They [Ethnic Technologies] use a system that breaks out each
       part of a person’s name so that they have a mini database that’s built up over
       a long period of time where they understand name prefixes, middle parts of
       last names, name suffixes that are highly predictive of country of origin. They
       begin with the first name. The first name is very indicative of the cultural

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      values of the namer of a person. Typically parents. So they begin there and
      where there are names that are only found in one particular type of—one
      particular race, that’s gonna be determinative. If the first name is not
      determinative they move to the last name where they literally parse it apart
      syllable by syllable and understand what the name means, what its derivation
      is, and what country of origin it was likely from.

             Q. And is there other information beyond first and last name that goes
      into that analysis?

              A. Yes. If it’s still not decisive they use the middle name which like the
      first name is very indicative of the cultural values of the namer. If we’re still
      uncertain we look at that actual latitude and longitude, put it in a block, and
      understand if it is predominantly, overwhelmingly, marginally one race or
      another.

              Q. And when you say that latitude and longitude, what do you mean by
      that?

             A. It’s—latitude and longitude is a way of measuring a particular spot
      on the earth. And if you know the latitude and longitude you can place it right
      into a neighborhood.

              Q. You mean of the individual’s residence.

              A. Yes.

              Q. And when you say in a certain block what do you mean by that?

             A. A census block in urban areas is often literally a city block. In rural
      areas it may cover a wider expanse, but mostly in urban areas it’s close to an
      exact city block.

             Q. And is there information available about the racial demographics of
      the residents of a census block?

            A. Yes, there’s both census data, there’s commercial data, but also we
      aggregate the voter file itself to understand the voter makeup in that block.

Tr. 636–37.

      John Mas, a former employee of Ethnic Technologies, provided examples to illustrate

Ethnic Technologies’ general methodology: “So the premise is that you look at a person’s


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first name and you can infer a little bit about their culture or their background or you can

look at their last name. If you heard Alex Rodriguez you wouldn’t think that he’s a Chinese

person playing baseball.” Tr. 606. The firm then refines its analysis by drawing inferences

based on the neighborhood in which the person lives: “So you could have people with the

last name Lee, like Bruce Lee or Stan Lee and help decipher if he’s Chinese or Jewish. So

if you know where they live you can know that Bruce Lee if he lived in Chinatown more than

likely would be Chinese, or Stan Lee if he lived in Riverdale, New York was Jewish.” Tr.

608.

       Using the data Beatty provided, Ethnic Technologies was able to identify the likely

race of 91.6% of the unmatched voters in 2012 and 93.1% of the unmatched voters in 2013.

Beatty then computed the percentage of registered voters of each race that lacked a

matching driver’s license or state ID. This produced the following results: In 2012, 9.5% of

white voters, 16.2% of Black voters, and 24.8% of Hispanic voters lacked a matching ID.

In 2013, 8.3% of white voters, 11.5% of Black voters, and 19.2% of Hispanic voters lacked

a matching ID.

       The defendants offer two criticisms of Beatty’s methodology. Their first criticism is

that Beatty’s analysis failed to account for the possibility that unmatched voters might

possess a form of qualifying ID other than a driver’s license or a state ID card. This is a fair

point, but as other evidence in this case establishes, only an extremely small number of

people possess a form of qualifying ID other than a driver’s license or a state ID card and

do not also possess either a driver’s license or a state ID card. Tr. 300 (testimony of

Professor Barreto reporting that only 0.3 percent of Milwaukee County residents had only

a form of ID other than a driver’s license or state ID card). Thus, although some unmatched

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voters will possess a form of qualifying ID other than a driver’s license or state ID card, it

is highly unlikely that these unmatched voters are so numerous that they would affect

Beatty’s ultimate conclusion that minorities are substantially more likely than whites to lack

a qualifying form of ID.

       The defendants’ second criticism of Beatty’s methodology has to do with his use of

Ethnic Technologies to determine the race of the unmatched voters. The defendants point

out that Ethnic Technologies determined the likely race of the unmatched voters by inputting

the voters’ names and locations into its proprietary software program, and that no witness

gave precise details about the algorithm on which that software is based. However, the

general principles underlying the software are known. As Beatty testified, the software first

attempts to match a person’s first name to an ethnicity, then examines the last name and

possibly middle name, and finally uses information about the neighborhood in which the

person lives to estimate the person’s race and ethnicity. Ethnic Technologies also explains

that this is the general principle underlying its software on its website. See LULAC Ex. 211;

www.ethnictechnologies.com (last viewed April 28, 2014).

       Moreover, even though we do not know the precise details surrounding Ethnic

Technologies’ software, there is ample evidence in the record indicating that Ethnic

Technologies’ software is reliable enough for the purposes it was used in this case, which

is to estimate the racial makeup of a population. First, there is a consensus in the academic

literature that although the general principles employed by Ethic Technologies—known as

onomastics, Tr. 662–63—do not perfectly determine a person’s race, they “provide[] a

sufficient level of classification confidence to be used in the measurement of inequalities

and in the design and delivery of services that meet the needs of ethnic minorities.” Pablo

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Mateos, A Review of Name-based Ethnicity Classifications Methods and their Potential in

Population Studies, Population, Space and Place, July/August 2007, at 243; LULAC Ex.

213 at 26. Here, we are attempting to measure a racial inequality, and thus software based

on onomastics is a proper tool to use. Second, a study supported by a grant from the

National Cancer Institute found that Ethnic Technologies’ software was “nearly perfect in

estimating white race”—meaning that the software almost never identified a person as

nonwhite when the person self-identified as white. Jessica T. DeFrank et al., Triangulating

Differential Nonresponse by Race in a Telephone Survey, Preventing Chronic Disease, July

2007, at 1, 5; LULAC Ex. 212. It is true that the software misidentified a large number of

self-identified Black individuals as white, id., but this does not undermine Beatty’s

conclusion that Black voters are more likely than white voters to lack photo ID. If anything,

it indicates that the disparity in possession rates is even greater, as it implies that many of

the unmatched voters whom Ethnic Technologies identified as white are actually Black.1

Moreover, as Beatty testified, Ethnic Technologies has improved its software since the time

of the CDC study, and today the software has less of a tendency to misidentify Blacks as

whites. Tr. 661–62.

       A final factor indicating that Ethnic Technologies’ software is reliable is the fact that

Ethnic Technologies has been able to remain in business since 1995. Tr. 597. Marketers

would not continue to hire Ethnic Technologies to estimate the race and ethnicity of their

target audiences if its software were unreliable. And Beatty himself testified that he has



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         As Beatty explained, there is a tendency to misidentify Black individuals as white
because they often have the same names and live in the same neighborhoods as whites.
Tr. 661.

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been using Ethnic Technologies in his work for many years and has found their results to

be very reliable. Tr. 634–35, 662–63.

      In sum, I conclude that Beatty’s methods, and the conclusions he reached after

applying those methods, are reliable and should be given significant weight.




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